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1395 NW-TSth Street AMOUNT SET

Mia Florida
(305) 545-7822

New csl 11/25/91:

ALBERT J. KRIEGER, P.A.
1899 South Bayshore Drive
Miami, Fl., 33133

(305) 854-0050

By: Albert J. Krieger

 

 

 

 

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New csi 11/25/91:
I. MARK DACHS

305-577-3444
(also co-cnsl:
ROY BLACK and
MARTIN WEINBERG)

New World Tower

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(305) 545-7822

<I. Mark Dachs

éo-csl 1/16/92:

Neil G. Taylor

Cocnut Grove Bank Bldg Ste 315
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858-9550

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Miami ,Fl., 33156-7858
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IV. NAMES & ADDRESSES OF ATTORNEYS, SURETIES, ETC.

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IV. NAMES & ADDRESSES OF ATTORNEYS, SURETIES, ETC.

Paul D. Lazarus

175 N.W. First Avenue, Suite 1730
Miami, FL 33128

Tel: 539-0606 Dade

Tel: 763-2611 Broward

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FINE AND RESTITUTION PAYMENTS Docket Entries Begin On Reverse Side

 

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APPEALS FEE PAYMENTS

 

 
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Case 0:91-cr-O6060-FAM Document 1379 Entered on FLSD Docket 08/12/1998 Page 7 of 66

 

 

 

 

 

CRIMINAL DOCKET - U.S. District Court van US (LAST, FLRST. MIGULES Mo bey ve Docket No. prngg Oat
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US TITLE/SECTION OFFENSES CHARGED ORIGINAL COUNTS —
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Case 0:91-cr-O6060-FAM Document 1379 Entered on FLSD Docket 08/12/1998 | Page 8 8 of 66

 

 

 

 

 

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US TITLE SECTION OFFENSES CHARGED ORIGINAL COUNTS — ISM
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John C. Mattes

1401 Brickell Avenue
Suite 910

Miami, Fl., 33131
(305) 374-5590

FBN #468150

 

IV. NAMES & ADDRESSES OF ATTORNEYS, SURETIES, ETC.

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FINE AND RESTITUTION PAYMENTS

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Simon T. Steckel AMOUNT SET
2303 Ponce de Leon Blvd. :

Coral Gables, 3314

(305) 448-1930

Fl.,

5/17/93: Co-counsel

Bierman, Shohat, Loewy & Perry, P.A.
Courthouse Center, Suite 1730

175 NW lst Avenue

Miami, Florida, 33128-1844

(305) 358-7000

By; Edward R. Shohat

FBN # 152634

 

IV. NAMES & ADDRESSES OF ATTORNEYS, SURETIES, ETC.

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(OPTIONAL) Show Jas! names of defendants Vv. PROCEEDINGS

INDICTMENT retd at Miami, FL.

ALL DEFTS: WARRANT for arst issd.

ALL DEFTS: GOVT'S EX PARTE SEALED MOTION for sealed ind.

ALL DEFTS: ORDER (LSS-5/10/91) SEALING case until arst of
lst deft. (EOD-5/24/91-CCAP)

ALL DEFTS: ORDER (SM-5/15/91) SEALING mot & order until
further order of Court. (EOD-5/24/91-CCAP).

ALL DEFTS: NOTICE (CLK-5/15/91) ASSIGNING to cal of Judge
Federico A. Moreno for all further proceed.

FALCON, MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRULO,
MENDEZ, ALVAREZ & FALCON:GOVT'S EX PARTE applic., for
warr., ot seizure as to lot 11, in block 4 of Flagler Waterway
estates at 9944 N.W. 48 Th Circle Miami, Fl.

FALCON, MAGLUTA, LORENZO, BAROSO, ESCOBEDO BLANCO, GARRUDO,
MENDEZ, ALVAREZ:PROTECTIVE WARRANT (FAM-5/16/91) OF SEIZURE] w/in
10 days certain real property known & numbered as 9944 N.W.
48 Th., Circle Miami Fla. 6 the contents 4 personal property.
(EOD-5/28/91-CCAP) .

FALCON, MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., tof
prot., warr., of seizure as to Unit A-PH12 of Brickell Kev
One a coraominium. & all personal property cortained.

FALCON, A., MAGLUTA, LORENZO, BAROSO, ESCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/91)
OF SEIZURE w/in 10 days as to certain real property known
& numbered as 520 Brickell Key Drive APH 12 Miami Fla., &
all personal property. (EOD-5/28/91-CCAP).

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDD,
MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., for
warr of seizure as to lots 7 & 8 in block 2 of West Miami
Estates & lot 9 otf block 3 in West Miami Estates 6 all
personal property.

FALCON, A., MAGLUTA, LORENZO, BARKOSO, ESCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/91)| OF
SEIZURE w/in 10 days as to certain real property known 4
numbered as 8500 N.W. 8 Th St., Miami Fla., 6 the contents]é
personal property.

FALCON, A., MAGLUTA, LORENZO, BAROSO, ESCOBEDO, BLANCO, GARRUDD,
MENDEZ, ALVAREZ, o FALCON, G:GOVT'S EX PARTE applic.,. tor
prot., warr., of seizure as to Unit No., A-PHO1 of Brickell
Key One real property known & numbered as 520 Brickell Key
Drive including personal property.

FALCON, A., MAGLUTA, LORENZO, BARKOSO, ESCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/91){OF
SEIZURE w/in 10 days as to certain real property known &
numbered as 520 Brickell Key Drive APHO1 Miami Fla.,. & the
contents & personal property. (EOD-5/28/91-CCAP).

FALCON, A., MAGLUTA, LORENZO, BAROSO, ESCOBEDO, BLANCO, GARRUIDO,
MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., for prot.,
warr., of seizure as to 8260 S.W. 4Th St. Miami Fla., 6
all personal property.

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(OPTIONAL! Show last names of defendants Vv. PROCEEDINGS
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GARRULO, MENDEZ, ALVAKEZ, FALCON G:PROTECTIVE WARRANT (FAM-
5/16/91) OF SEIZURE w/in 10 days as to cerain real property
known. & numberea as 8260 S.W. 4Th St., Miami Fla., & the contents a:
& personal property contained therein. (HOD-5/28/91-CCAP). njtl es

16 7 FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO, o*
MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., for Ef
warr., of seizure as to real property known & numbered ab x
1461 West 42nq St., Hialeah Fla., & all personal propertly .
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16 18 FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBELO, BLANCO, GARRUDO me
MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/9{1)

OF SEIZURE w/in 10 days as to 1461 West 42nd St., Hialeah
Fla., & the contents 6 personal property. (EOD-5/28/91-
CCAP). mit
16 19 FALCON, A., LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., for a
prot., warr., of seizure as to 1334 West 40Th., St., boy
Hialeah Fla., & all personal property contained therein. nyt
16 2G FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO,
GARRUDO, MENDEZ, ALVAREZ, FALCON G:PROTECTIVE WARRANT
(FAM-5/16/91)OF SEIZURE w/in 10 days as to 1334 West
40Th St., Hialeah Fl., & the cortents & personal prop-
erty contained therein. (EROD-5/16/91-CCAP). mgt

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MENDEZ, ALVAREZ, & FALCON, G:GOVT'S EX PARTE applic., fot
prot., warr., of scizure as to 1396 West 40Th St., Hiale&éh we
Fl., & all personal property contained therein. mje] ie
16 py 2 FALCON, A.,. MAGLUTA, LORENZO, BARROSO, MENDEZ, ALVAREZ, FALCON}
G. BLANCO, GARRUDO: PROTECTIVE WARRANT (FAM-5/16/91)OF

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Fla., & the contents & personal property. (FOD-5/28/91-
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16 p33 FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARKULO
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Fl., & all personal property contained therein. mit
p4 FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/9L) no.
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MENDEZ, ALVAREZ, FALCON G:GOVI'S EX PARTE Applic., for 11 Fein
prot., warr., of seizure as to 13313 S.W. 27Th., St., proces
Miami Fla., & all persoral property therein. NIL] atin
D6 FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO, "ee
MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/9]-)
OF SEIZURE w/in 10 days as to 13313 S.W. 27Th., St., Miami
Fl., & the contents & personal property. (FOD-5/28/91- a mee
CCAP). NE] ence
16 D7 FALCON, MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO, teen
MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., tor NE | smc

prot., warr., oi seizure as to 1210 County Club Prado Miami, mow
Fla. & all personal property therein. CONT... .[ “ster
CONTINUED TO PAGE L__] W Grand

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‘ A____} MASTER DOCKET - MULTIPLE DEFENDANT CASE pacel orl ;

 

 

 

 

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(OPTIONAL) Show last nares of defendants Vv. PROCEEDINGS

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO,

GARRULO, MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/91)
OF SELZURE w/in 10 days as to 1210 Country Club Prado Coral Gables,

Fla., & all personal property therein. (ROD-5/28/91-CCAP).

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., for prpt.,
warr., ot seizure as to 1117 Alberca St., Coral Gables Flad.,

& all personal property therein.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDD,

MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/91)

OF SEIZURE w/in 10 days as to 1117 Alberca St., Coral Gabikgs,

Fla., « all personal property therein. (ROD-5/28/91-CCAP).

FALCON, A., MAGLUTA, LORENZO BARROSO, ESCOBEDO, BLANCO, GARKRUDO,

MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., for

prot., warr., ot seizure as to 8370 S.W. 2Na st. Miami Fl1pB.,

& all personal property .

FALCON, A., MAGLUTA, LORENZO, BARROSO, FSCOBEDO, BLANCO, GARRULD,

MENDEZ, ALVAREZ, FALCON, G:GOVT'S EX PARTE applic., for

prot., warr., of seizure as to 99 West Plaza Granada, Porft
Antigua, lslamorada Fla., « all personal property therein.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRULD,

MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/91)

OF SEIZURE w/in 10 days as to 99 West Plaza Granada, Port

Antigua, Islamorado Fl., & the contents 6 personal Property

contained therein. (HOD-5/28/91-CCAP).
FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO

MENDEZ, ALVAREZ, FALCON G:GOVT'S EX PARTE applic., tor prpt.,
warr., ot seizure as to 8401-8425 N.W. 8Th., St., Miami Flla.,

& all personal property contained therein.
FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO,BLANCO, GARRULO,

MENDEZ, ALVAREZ, FALCON G:PROTECTIVE WARRANT (FAM-5/16/91)

OF SEIZURE w/in 10 days as to 8401-8425 N.W. 8Th St., Miami
Fla., & the contents 6 personal Property contained thereip .

(FOD-5 /28/91-CCAP).

FALCON, A., MAGLUTA, LORENZO. BARROSO, ESCOBEDO, BLANCO, GARKUDO,

MENDEZ, ALVAREZ, FALCON,G: GOVT'S EX PARTE applic., for

prot., warr., of seizure as to 2025 Brickell Ave., Unit 1103

Miami Fla., & all personal property contained therein.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUD,

MENDEZ, ALVAREZ, FALCON, G:PROTECTIVE WARRANT (FAM-5/16/91
OF SEIZURE w/in 10 aays as to 2025 Brickell Ave., Unit
1103 Miami Fl., & al personal property contained therein.
(EOD-5/28/91-CCAP) .

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO
MENDEZ, ALVAREZ, FALCON, G:GOVT'S NOTICE Ot fort., action
as to Unit West of Enjoy Condominium No 7.

ALL DEFTS:GOVT'S NOTICE ot fort., action as to Tract 4, in block
5 of Flagler Waterway Estates.

ALL DEFTS:GOVT'S NOTICE of fort., action as to Unit Kast of Enjoy

Condominium No 4.

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ALL DEFTS:GOVT'S NOTICE of torf., action as to Unit A-PHO1 otf Brfickell

Key One.

ALL DEFTS:GOVT'S NOTICE of tort., action as to Unit lots 1,2,3 ip

block 1 ot Rosalinda Subdivision. CONT....

 

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(OPTIONAL) Show last names of detendents V. PROCEEDINGS

ALL DEFTS:GOVT'S NOTICE of tort., action as to lot 11, in
block 4 ot Flagler Waterway Estates.

ALL DEFTS:GOVT'S NOTICE of tort., action as to lots 7 & 8 in
block 2 of West Miami Estates.

ALL DEFTS:GOVT'S NOTICE of fori., action as to lot 40 in bloc}
18 of First Addition to doral woods.

ALL DEFTS:GOVT'S NOTICE ot torf., action as to Condominium
parcel #1103 of Atlantis on Brickell.

ALL DEFTS:GOVT'S NOTICE ot torf., action as to Unit A-PH12 of
Brickell Key One.

ALL DEFTS:GOVT'S NOTICE of tort., action as to lots 29 4 30 &
31 in block 2 ot West Miami Estates.

ALL DEFTS:GOVT'S NOTICE ot fort., action as to lot 23 4 24 le
south 15 teet ot said lot 23 lot 9 6 10 less the south
feet of said lot 10 all in block 77 of Coral Gables Graj
Section.

ALL DEFTS:GOVT'S NOTICE ot forr., action as to lot 5 in block
ot California Heights

BARROSO:GOVT'S NOTICE ot appeal trom the bond set by Mag., on
5/17/91.

ALL DEFTS:GOVT'S NOTICE of tort., action as to block 10 in
block 3 ot Granada Place.

ALL DEFTS: GOVT'S NOTICE Ot fort., action as to Unit East of
Enjoy Condominium No 3.

ALL DEFTS (TEB-5/17/91)GRNATING govt's m/unseal ind.
(EOD-5/28/91-CCAP).

GARRUDO: REPORT comm., cr., action DOB 8/11/54 USM # 36852-004.

GARRUDO:ORDERTEB-5/17/91L)ON initial app., on 5/17/91 arst., on
M. Tarkott Esg., tor Frank Rubino No Written notice fil
as temp., csl., of record. Dertt., shall attempt to reta
esl., betore 5/21/91 @ 10:00 am. Arraign set for 5/21/9
@ 10:00 am. A PTD hrg., sch., tor 5/21/91 @ 10:00 am.
TAPE # 910-112-78. (EOD-5/28/91-CCAP).

+ MARQUEE: PTB -GRDER (PRP=5 721/94 +RESK-OF FELIGHE.— ¢FGD~5728-/+H =CGAP

ALL DEFTS:GOVT'S MOTION to unseal applic's., & prot., warr/s.,
seizure.

ALL DEFTS :ORDER (FAM-5/22/91)GRANTING govt's m/unseal applic's.,
& prot., warr/s., ot seizure. (HOD-5/28/91-CCAP).

(ALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRUDO,

MENDEZ, ALVAREZ, FALCON, G:RETURN ot prot., warr., or

seizure exec on 5/18/91 as to 9944 N.W. 48-Th. Circle

Miami Fla.

FALCON, A., MAGLUTA, "LORENZO, BARROSO, RSCOBEDO, BLANCO, GARRUDO,

MENDEZ, ALVAREZ, FALCON, G:RETURN of prot., warr., ot

seizure exec on 5/18/91 as to 520 Brickell Key drive

APH 12.

ALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRULO,

MENDEZ, ALVAREZ, & FALCON, G:RETURN Of prot., warr., ot
seizure exec on 5/17/91 as to 8500 N.W. 8Th St. Miami
Fla.

FALCON, A., MAGULTA, LORENZO, BAROSO, EXCOBEDO, BLANCO, GARRUDO,
MENDEZ, ALVAREZ, & FALCON, G:RETURN of prot., warr., of
seizure exec., or 5/18/91 as to 520 Brickell Key Drive
APHO1 Miami Fla. CONT....

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BARROSO:NOTICE ot temp., app., as csl., of record of Sharon L.
BARROSO:GOVT'S NOTICE of appeal trom Mag's., order setting

BARROSO: ORDER (PRP-5/17/91)ON initial app., on 5/17/91 arst., on

 

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(OPTIONAL! Show lant narnas of defendants V. PROCEEDINGS

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARKRUDO,
MENDEZ, ALVAREZ, FALCON, G:RETURN of prot., warr., of
seizure exec., on 5/17/91 as to 8260 S.W. 4Th., St., Miami
Fla.

FALCON, A., MAGULTA, LORENZO, BAKROSO, ESCOBEDO, BLANCO, GARRUDD,
MENDEZ, ALVAREZ, FALCON, G:RETURN of prot., warr., ot arst}h,
exec on 5/17/91 as to 1461 West 42Nd., St. Hialeah Fla.

FALCON, A., MAGULTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARKU
MENDEZ, ALVAREZ,FALCON, G:KETURN of prot., warr., of seiz
exec on 5/17/91 as to 1334 West 40Th St., Hialeah Fla.

FALCON, A., MAGULTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARRU
MENDEZ, ALVAREZ, FLACON, G:RETURN otf prot., warr., ot seiz
exec., on 5/17/91 as to 1396 West 40Th., St. Hialeah Fla.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARR
MENDEZ, ALVAREZ, FALCON, G:RETURN of prot., warr., ot seiz
exec on 5/17/91 as to 1324 West 40Th St. Hialeah Fl.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARR
MENDEZ, ALVAREZ, FALCON, G:KETURN of warr., ot seizure exe
on 5/17/91 as to 13318 S.W. 27 Th., St. Miami Fla.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARR
MENDEZ, ALVAREZ, FALCON, G:RETURN of prot., warr., ot seiz
exec., on 5/17/91 as to 1210 Country Club Prado Coral Gabl
Fla.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO, BLANCO, GARR
MENDEZ, ALVAREZ, FALCON, G:RETURN otf prot., warr., ot seiz
exec on 5/17/91 as to 1117 Alberca St. Coral Gables, Fla.

FALCON, A., MAGLUTA, LORENZO,, BARROSO, ESCOBFDO BLANCO, GARRUD
MENDEZ, ALVAREZ, FALCON, G:RETURN of prot., warr., of seiz
exec on 5/17/91 as to 8370 GW. 2Nd St., Miami Fla.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBELO, BLANCO, GARRUL
MENDEZ, ALVAREZ, FALCON, G:RETURN ot prot., warr., of seizpr
exec on 5/21/91 as to 99 West Plaza Granada, Port Antigua,
lslamorada Fla.

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO BLANCO GARRUDO
MENDEZ, ALVAREZ FALCON, G:RETURN of prot., warr., of seizufe
exec., on 5/17/91 as to 8401-8425 N.W. 8Th., St., Miami Flt

FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBFE.DO, BLANCO, GARRUDO}
MENDEZ, ALVAREZ, FALCON, G:RETURN of prot., warr., of seiz are:
exec., on 5/18/91 as to 2025 Brickell Ave., Unit 1103 MiamE
Fla.

 

 
  
   
  
   
   
   
 
  
    
    
   

Kegerreis Esq.
bond.

5/17/91. Sharon Kegerreis Esq., app., as temp. csl., ot
record. Dett., shall attempt to retain csl., & shall app.,
betore the court on 5/21/91 @ 10:00 am. Arraign hrg., set
tor 5/21/91 @ 10:00 am. A PTD hrg., set for 5/17/91 @ 10:00
am. Deft., shall be released trom cust., upon the posting
of the tollowing type of app., bond. $250,000 CSB w/nebbia
plus $100,000 PSB co-signed by parents. TAPE #91D-112-2620
113-1. (EOD-5/29/91-CCAP).

ALL DEFTS:GOVT'S NOTICE ot tort., action as to Lot 98 Post
Antigua Plat No. 3-4, CONT...

 

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PROCEEDINGS DOCKET FOR SINGLE DEFENDANT Sean Dawe ple Total
occ! Sobeeb-FAMWe Ddcument 1379 Entered on FLSD Dock atic DMB On |
(OPTIONAL } Show last names of defendants
1991 V. PROCEEDINGS
*May 21 479 BARKOSO:PETITION for Writ ot H/C ad pros. nt
21 “80 BARROSO:WRIT ot H/C Ad Pros (LRJ-5/21/91)THAT USM bring the body of
dett., from Metro Dade Corr., Center to USDC on 5/22/91 @
10:00 am tor arraign. (EOD-5/29/91-CCAP). njt
22 By BARROSO: REPORT comm., cr action DOB 6/24/55 USM #36855-004. njt
*15 182 ORDER(SM-5/15/91)OF RECUSAL. 6 that cause is refered
to the Clerk of Court tor permanent reassignment
toanother Judge in accord., with the blind assignment
system. (EOD-5/30/91-CCAP). nit
22 183 BARROSO:RESPONSE to govt's., appeal of bond & cross-
| appeal. nit
*16 64, FALCON, A., MAGLUTA, LORENZO, BARROSO, ESCOBEDO,
BLANCO, GARRUDO, MENDEZ, ALVAREZ, FALCON,G:
PROTECTIVE WARRANT (FAM-5/16/91)OF SELZURE w/in
10 days as to certain real property known & numbdred
as 8370 S.W. 2ND Ave. Miami, Fla., & the contents ..
& personal property. (EOD-5/31/91-CCAP). mje
24 B5 GARRUDO:OFFER OL proot on rebbia honda cond's., subm., njq
*16 B6 ALL DEFTS: ORDER (FAM 5/16/91) PROTECTIVE order on application
OF USA. (see order for details). (BOD 6/6/91-CCAP). cal
*21 87} GARRUDO: MOTION for bond. cah
*21 88 |} GARRUDO: MOTION for bond. cah
24 B9 | BARROSO: ORDER (LRJ 5/22/91) On hrg to rpt re csl. Deft req
further time to retain csl & shall appear before crt &
cont arraign cont for 6/3/91 @ 10:00 am. (EOD 6/6/91-CCAP)
Tape 91FX-73-1646. icah
24 DO GARRUDO: ORDER (LRJ 5/21/91) GRANTING Deft's M/bonad §& bond
set in amt of $75,000.00 CSB w/nebbia + $500,000.00 PSB.
(EOD 6/6/91-CCAP). Tape 91FX 72-1927, 73-231. icah
24 9l} GARRUDO: ORDER (LRJ 5/21/91) On hrg to rpt re csl. Private
csl Frank Rubino, Esq. appeard as perm csl of record. (EOD
6/6/91-CCAP). Tape 91FX 72-1427 & 73-231. cah
28 92} BARROSO: TRANSCRIPT of initial appear on 5/17/91 pas 1 thru 24] cah
28 93| GARRUDO: GOVT'S MOTION to delay compliance w/paragraphs "D" &
"E" od SDO & incorp. mem. cah
30 94| GARRUDO: NOTICE of filing compliance of judicial order. cah
30 95; ALL DEFTS: ORDER (FAM 5/30/91) GRANTING Govt's M/unseal prot
order. (EOD 6/6/91-CCAP). cah
JUNE 06 96| GARRUDO: ORDER (LRJ 5/29/91) Court finds nebbia satisfied. (Bop
6/6/91-CCAP). No tape #. cah
* MAY 28 |97) ALL DEFTS: GOVT'S MOTION to unseal prot order. cah
JUN 3 8{ BARROSO: ARRAIGN on 6/3/91, plea of N/G entered, Tape #91C-96-3p6. ddg
3 99} BARROSO: ORDER (STB 6/3/91) on hrg to rpt re csl; Sharon Kegerrpis
app as perm csl for Deft. (BOD 6/7/91-CCAP) ddg
3 {100 BARROSO: NOTICE of pénhm app of Sharon Kegerreis as csl. ddg
3 101) BARROSO: SDO (STB 6/3/91) 28 days to file mots. (EOD 6/7/91-CCAP) ddg
6 02] GARRUDO:ORDER(FAM-6/6/91)GRANTING govt's., 5/28/91
m/delay compliance w/paragraphs vb & E of the Spo.
SETTING status hrg., to set tri., date on this matter
for 6/14/91 @ 9:00 am. (EOD-6/12/91-CCAP). nyt
7 |10B GARRUDO:APPEARANCE bond posted on 5/29/91 in amt., 01
$500,000 PSB. CONT nt
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(OPTIONAL! Show at mars of dtendans V. PROCEEDINGS — .
1991
June 7 {104 GARRUDO:APPEARANCE bona posted on 5/30/91 in amt.,
ot $75,000 CSB. nyt
14 4105 BARROSO: ORDER (FAM 6/14/91) Denying govt's appeal from Bdnd
order set by Mag Bandstra on 5/17/91. (EOD 6/17/91
CCAP). ak
17. {106  GARRUDO & BARROSO: MINUTES of Status Conf on 6/14/91. ser
17. 110%  GARRUDO & BARROSO: NOTICE OF TRIAL (FAM 6/17/91) 2wk period df
1/13/92, cal call 1/7/92 @ 2:00 p.m., exclud time from
6/14/91 to 1/24/92. (EOD 6/18/91 CCAP) ser
17 1108 GARRUDO: MOTION for reconsideration of Govt's m/delay compliamce
of paragraphs "D" & "E" of SDO. I ser
1€ [109 BARROSO: DEFT'S MOTION for reduction of Bond based upon new
circumstances. ser
18 #110 BARROSO: DEFT'S OBJECTIONS to Govt's m/delay compliance w/SDO, ser
19 {113 GARRUDO: ORDER(FAM 6/19/91)DENYING Deft's m/reconsideration
of Govt's m/delay compliance of para D § E of SDO. ser
24 4112 BARROSO: ORDER( FAM 6/24/91) DENYING mot to reduce bond;obj} to
govt mot delay compliance w/SDO are overruled & DENIED
(EOD 6/26/91 CCAP) hr
24 |113 FALCON & MAGLUTA:MOTION,emerg, premission reoccupy residdnce. hr
25 {114 FALCON & MAGLUTA:GOVT resp in opp emerg mot reoccupy residence. hr
28 3115 FALCON, A.G. & M.M.:ORDER(FAM 6/27/91) referring to US Mag STB
emerg mot re-occupy residence (EOD 7/3/91 CAP) hr
JUL 2 116 GARRUDO:GOVT mot revoke bond. hr
2 117 BARROSO:MOTION for bill particulars. hr
3 11g BARROSO:MOTION discl other act evid. hr
3. «7119 BARROSO:MOTION strike prejudicial surplusage & memo . hr
9 120 ESCOBEDO: REPORT of Cr Action #37009-004; DOB 3/14/53. ks
9 121} ESCOBEDO: ORDER (LRJ 7/8/91) on Initial App 7/8/91 after
arrest on 7/7/91 ; rpt re csl at 10:00 am on 7/12/91;
arraign at 10:00 am 7/12/91; PTD hrg 10:00 am 7/10/91 ks
(EOD 7/10/91 CCAP).
9 122| ESCOBEDO:NOTICE of Temp App as csl Emilio de la Cal. ks
9 1129 ALL DEFTS:ORDER(FAM 7/9/91) unsealing govt application protjec order
& aff & arder (EOD 7/11/91 CCAP) hr
*5/16/91 {124 ALL DEFTS:GOVT exparte mot,aff & mORDER(FAM 5/16/91)to issue seizurd hr
warrants & protective & restraining orders (HOD 7/11/91
CCAP ) hr
12 {125 ESCOBEDO:NOTICE of App of Paul D. Lazarus. ks
15 [L26 ESCOBEDO:ARRAIGNMENT 7/12/91, n/g plea, jail, PTD, tape
#91FX-104. ks
15 {L27) ESCOBEDO:ORDER (LRJ 7/12/91) that Court will not enter PTD
Order (EOD 7/17/91 - CCAP). ks
15 {28 ESCROBEDO:SDO (LRJ 7/12/91). ks
17 {129 GOVT'S RESPONSE in opposition to BARROSO's Mot for a bill of
particulars. ks
17 |13@ =GOVT'S RESPONSE to BARROSO'S Mot for other act evidence, ks
17 {13} ~GOVT'S RESPONSE in opposition to BARROSO's Mot to strike
prejudicial surplusage from indictment and incorporated
memo of law. ks
18 [34 FALCON, A. § M.:ORDER (STB 7/18/91) DENYING emergency mot for
permission to re-occupy residence (EOD 7/22/91 - CCAP). ks
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(OPTIONAL! Show test names of detrediants V. PROCEEDINGS Ae
1991 a
— WW
JULY 199133 BARROSO:ORDER (FAM 7/19/91) GRANTING mot for bill of
particulars as to subsection (k); govt will provide
date as to Count XVI; GRANTING mot for disclosure of
other act evidence; DEFERRING mot to strike prejudicial at
surplusage until time of trl (EOD 7/22/91 - CCAP). ks | e+
22 134 FALCON,A.G.:NOTICE of appeal from Mag order denying mot re+occupy 2
residence . hr | Sow
25 136 FALCON,A.G.:NOTICE of intent w/draw appeal from order denying mot ‘E
re-occupy residence. hr =.
25 ‘134 GARRUDO, SEALED DOCUMENT in vault. msi} +s
19* 137 ESCOBEDO:WARRANT for arst ret'd exec 7/11/91. ks 2?
AUG 2 138 ALL DEFTS:GOVT ntc lis pendens re forf .
7 13p GOVT'S bill of particulars. ser
*JUL 8 140 GOVT mot unseal application, aff & protec order. hr
AUG 19 |14) BARROSO:WARRANT for arst ret'd exec 5/17/91. br | er:
SEP 22 {142 MENDEZ: S.D.0.(STB 9/20/91) That Deft has 28 days to file a
P/T Mots (EOD 9/23/91Ccap). apd i
22 1148 MENDEZ: ARRAIGNMENT 9/20/91, Not G/P entered, Deft in custody, wel
Csl Vincent Flynn retained, PTD cont. Tape#91C-179-420. agd i.
22 14h MENDEZ: ORDERSTB 9/22/91)Init app 9/17/91, Walter Reynosa nan
appeared as csl(temp) Re csl hrg set for 9/20/91, eo
@l10am., PTD requested & hrg set 9/20/91, @10am. _
(EOD 9/23/91ccap). agd| 22
22 145 MENDEZ,L: REPORT Commencing Crim action— DOB 12/24/62, ‘
PR#37400-004. agd_
22 146 MENDEZ,L: ORDER(STB 9/20/91) That Deft is Risk of flight & con
danger to community, PTD set. (EOD 9/24/9lccap). agd tee
22 147 MENDEZ,L: ORDER(STB 9/20/91) on re csl hrg: Vincent Flynn,
retained as private csl. (EOD 9/24/91Ccap). ag:
22 448 NOTICE of temp app as csli-Walter Reynosa. ag
28 149 (SEALED)doc., in clerk's office vault. nj
*25 150 MENDEZ, L: RETURN warrant for arrest exec 9/17/91. agd
30 15il GARRUDO: ORDER(LRJ 9/28/91) CLARIFING Order re: cert of depog$it—
that Filiberto Garrudo may only dispose of these Cert for
purpose of paying son's legal fees or investigatory fees.
(EOD 10/9/9lccap). AGD oa ow
30 152 ESCOBEDO: ORDER(FAM 9/30/91) SETTING trial for 1/13/92, cal call beni
1/7/92, @2pm. Court delays period from 6/14/91 to 1/24/92. mane
(EOD 10/4/9lccap). agd or"
OCT 02 153 ALL DEFT: ORDER(FAM 10/2/91) SETTING trial for 1/13/92, Cal ton
call 1/7/92, @2pm. Court excludes period from 6/14/91 to 1/24/92. \, —
(EOD 10/10/9lccap). GD fone
4 |154 ESCOBEDO: MOTINO for cont of trl. vf | =:
9 [55|  MEDNEZ: ORDER (STB-10/8/91) DETAINING deft pending trl (EOD- one
10/22/91-CCAP) . vE| het
21 {154 SEALED doc in vault. vf
RLL(157 ALL DEFTS: ORDER (FAM-10/11/91) Cont trl to 1/27/92 cal call
set for 1/21/92 @ 2:00 Excl delay 10/4/91-2/7/92 (EOD-
10/23/91-CCAP). vil Sa
17 {158 MAGLUTA: ORDER & ADVICE (PRP-10/16/91) Initial app 10/16/91, ers
BOnd set @ temp p/t/d No hrg held Tape #91C-196-1130 mass
(EOD_1/30/91-CCAP). VE| Utne
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OCT 17 )15p FALCON: ORDER & ADVICE (PRP-10/16/91) Initial app 10/16/91,
BOnd set @ temp p/t/d No hrg held Tape #91C-196-1130
(EOD_10/30/91-CCAP). vt
17 |16p FALCON: NOTICE of temp app of Dachs as csl. vf
17 | 16, FALCON: REPORT comm CR action DOB 9/1/55, USM #26010-037. vf
17 |162 § MAGLUTA: REPORT comm CR action DOB 11/5/54, USM #45822-004. vet
21 {16p FALCON: NOTICE of erpm app of csl Dachs. vf
21 | 164 FALCON: NOTICE (STB-10/21/91) Noting app of private csl Dachs
Tape # 910-197-287 (EOD-10/30/91-CCAP). vf
21 1165 MAGLUTA: ORDER (STB-10/21/91) Noting app of private csl Lawson
Tape # 91C-197-287 (EOD-10/30/91-CCAP). vi
21 } 166 FALCON: ORDER (STB-10/21/91) DETAINING deft pending trl Tape
#91C-197~287 (EOD_10/30/91-CCAP). vf
21 1167 | MAGLUTA: ORDER (STB-10/21/91) DETAINING deft pending trl Tape
#91C-197-287 (EOD-10/30/91-CCAP). vi
*16 | 168 LORENZO: ORDER & ADVICE (PRP-10/16/91) Initial app 10/16/91,
BOnd set @ temp p/t/d, No hrg held, Tape #91C-195-1800
(EOD 10/30/91-CCAP). vi
*16 | 169 LORENZO: REPORT comm CR action DOB 11/1/58, USM #45821-004. vf
*17 | 17) MAGLUTA: NOTICE of temp app of csl Dachs. vi
23 | 171 MENDEZ: GOVT'S RESPONSE to M/review of detention order. vf
24 [172 LORENZO: ORDER (STB-10/23/91) DETAINING deft pending trl
Tape #91C-201-359 (EOD-10/30/91-CCAP). vf
24 11768 LORENZO: ORDER (STB-10/23/91) Setting hrg re: csl ro 10/31/91
@ 10:00 Tape #91C-201-359 (EOD-10/30/91-CCAP). vt
27 ih MAGLUTA&FALCON: ORDER (STB-10/25/91) Resetting arraign hres
to 10/28/91 @ 10:00 Tape #91C-204-116 (EOD-10/30/91-CCAP)|. vf
30 175, MAGLUTA: NOTICE of perm app of csi Lawson. vi
31 |174 MENDEZ: TRANSCRIPT of hrg held 9/20/91, p.1-16. vf
NOV 7 477 MENDEZ: MOTION for subst of csl. ed
12 {78 SEALED doc in vault. vf
13 17s LORENZO: ARRAIGN on 10/31/91, Plea of N/G entered,Tape #91C-
210-3053. vf
13/184 LORENZO: ORDER (BLG-10/31/91) Noting app of privte csl Jeffray
Weiner, Tape #91C-210-3053 (EOD-11/8/91-CCAP). vf
13° 418] LORENZO: NOTICe of perm app of csl. vi
13 1183 LORENZO: SDP (BLG-10/31/91) 28 days to file mots. vei
14 {188 FALCON,AG: ARRAIGN on 10/28/91,Plea of N/G entered, Tape #
91C-206-1076. vf
14 1184 MAGLUTE,S: ARRAIGN on 10/28/91, Plea of N/G entered, Tape
#91C-206-1076. : vf
14 |185 FALCON, AG&MAGLUTA: SDO (BLG-10/28/91) 28 days to file mots. vf
15 |184 LORENZO: ORDER (STB-11/8/91) DETAINING deft pending trl (EOD4
11/21/91-CCAP). vi
15 }18] BARROSO: MINUTES, vhange of plea, GUILTY as to Cts 2 & 16,
held 11/15/91. PLEA NOT ACCEPTED BY COURT. vt
19 |188 BARROSO: GOVT'S RESPONSE to deft's M/reduction of bond. vet
21 |189) FALCON,A&MAGLUTA: MOTION for ext of time to file substantive
mots to 12/3/91. vf
25 1190 MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for disc. vt
25 {191 MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for excupl evid &
inc memo. vf
25 |192 MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for p/t James hrg or
in alt for ord compelling govt to make p/t proffer & inc
memo.
25 |19B MAGLUTA, FALCONA, GARRUDOO&LORENZO: MOTION for early prod of
Giglio & inc memo,
25 {194 MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for disc reL G/J abu.
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{OPTIONAL Show tat nares of defendants V. PROCEEDINGS
MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for ints of govt wits
& inc memo. ve
MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for Ist of govt wits &
inc memo. vf
MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for bill of particularf
& inc memo. . vt
MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION to dism ind for insuf-
ficiency & inc memo. vf
MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION for prod of G/J transe
or in alkt for in camera inspect of G/J transc by Crt &
inc memo. vf
FALCONA&MAGLUTE: MOTION for dise re: electronic surveillance

& inc memo. vf
MAGLUTA, FALCONA, GARRUDO&LORENZO: REQUEST for o/a on pending

mots. vi
MAGLUTA, FALCONA, GARRUDO&LORENZO: MEMO in supp of M/disc re:

G/J abuse. vf
MAGLUTA, FALCONA, GARRUDO&LORENZO: CERTIFICATE if svc by hand. vt
MAGLUTA, FALCONA, GARRUDO&LORENZO: CERTIFICATE re: Rule 10.G. vi
FALCON,A: NOTICE of app of csl Arlbert J. Krieger. vf
MAGLUTA: NOTICE of app of csl I. Mark Dachs. vet
MAGLUTA, FALCONA, LORENZO&GARRUDO: MOTION for cont of trl. vf
SEALED doc in vault. vf
MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION to dism on basis of

racial discrim in G/J selection & inc memo. vf
MAGLUTA,FALCON,A: MOTION to suppt all converstaions inter-
cepted purs to 11/8, 12/1, 7, 18, 1978 & 1/22/79 & inc
memo. vet
MAGLUTA: CERTIFICATE purs to Local Rule 10(G). vf
MAGLUTA, FALCONA, GARRUDO&LORENZO: DECLARATION of Scott Furstah
in supp of M/traverese & q CA search warrant, M/Franks
hrg, M/suppr evid & inc memo. vf
MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION to traverse & q CA
search warrant, M/Franks hrg & M/suppr evid & inc memo. vf
MAGLUTA, FLACONA&GARRUDO: MOTION to suppr evid seized in
10/15/91 searches. vf
MAGLUTA: CERTIFICATE of svc by express mail. vf
MAGLUTA, FALCONA&LROENZO: MEMO in supp of M/suppr evid seized
in 10/15/91 searches. vf
MAGLUTA: AFFIDAVIT of Martin Weinberg in supp of mots to
suppr. vi
BARROSO: GOVT'S MOTION to wd pldg entitled "Govt's resp to
M/bond reduction. vi
LORENZO: NOTICE (Clk) of exh location~-exhs w/crt file. vf
LORENZO: MOTION for reconsid of p/t/d order. vt
LORENZO: ORDER (STB-12/11/91) DENYING dfet's M/reconsid p/t/d
Tape #91C-252-1088/253-1 (EOD-12/17/91-CCAP). vf
ALLDEFT: ORDER (FAM-12/13/91) Setting hrg on mots to cont trl

for 12/20/91 @ 11:30; GRANTING Mendez’ M/subst of csl;

GRANTING govt's M/wd resp to M/reduction of bond; RE-

FERRING mots to suppr & M/travers & quash & M/dism on

ground of discrimination to US Mag Brown (EOD-12/17/91-

CCAP). vf

FALCONA, MAGLUTA, GARRUDO&MENDOZA: ORDER (FAM-12/17/91) DENYING
mots for govt wits,prod of G/J, G/J disc,GRANTING mots for
int of wits,Giglio,exculp evid,disc (EOD-12/26/91-CCAP). vt
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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

U.S vs
Prsucos A., et. al.

Docket No.

) 91-6060-Cr-FAM

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V. EXCLUDABLE DELAY

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- AO 256A
(— DATE PROCEEDINGS (continued)
T991 (Document No.) -
DEC 20 {224 ALL DEFTS: ORDER (STB-12/19/91) Govt file resps to re-
ferred mots within 15 days of date of this order
(EOD-12/26/91-CCAP).
23 225 ALL DEFTS: MINUTES of s/c held on M/cont.
23 226 ALL DEFTS: ORDER (FAM-12/20/91) GRANTING M/cont trl, trl
r/s to 10/19/92 Cal call set for 10/13/92 @ 2:00,
Excl delay 11/29/91-12/19/92 (EOD-1/2/92-CCAP).
1992
JAN 3 227 FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S MOTION to ext
time to file resps to pending mots.

10 {228 FALCONA,MAGLUTA, LORENZO&GARRUDO: ORDER (STB-1/9/92) Granth
ing govt M/ext through 2/3/92 to complt w/Court's or
der of 12/19/91 (EOD-1/13/92-CCAP).

14 |229 GARRUDO: MOTIOn to amd p/t rptng reqs.

16 230 MAGLUTA: NOTICE of perm app of Neil Taylor as co-csl.

16 | 231 LORENZO: TRANSCRIPT of ptd hrg before Mag Brown 10/23/91

pes 1-35.
16 232 LORENZO: TRANSCRIPT of hrg on M/reconsid ptd order, befote
Mag Brown 12/11/91, pgs 1-48.

17 233 GARRUDO: ORDER (LRJ-1/17/92) GRANTING M/amd p/t rptng
reqs.

FEB 4 234 FALCONA ! GOVT'S MOTION for ext of time to resp
to dfse mots.

6 235 ESCOBEDO: POSITION reL sent factors & objs
to R&R.

7 236 FALCONA,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-
2/5/92) GRANTING Govt ext of 10 days to
resp to defts' mots (EOD-2/10/92-CCAP).

li 237 ESCOBEDO: GOVT'S POSITION re: sent factors.

13 238 MENDEZ: GOVT'S POSITION re: sent factors.

13 239 FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S MOTION
fpor ext to file resps to mots.

24 240 MAGLUTA, FALCONA&LORENZO: CERTIFICATE of svc.

24 241 MAGLUTA, FALCONA&LORENZO: MEMO (Suppl) in supp
of M/Franks hrg re: M/travers & q warrant.

24 242 MAGLUTA, FALCONA&SLORENZO: SUPPLEMENT to M/suppr
evid seized in searches conducted on or
about 10/15/91.

24 243 MAGLUTA, FALCONA&LORENZO: AFFIDAVIT in supp of
suppl to M/suppr evid.

27 244 ESCOBEDO: J&C (FAM-2/14/92) Impr 151 mos &
CTS & 5 yrs supervised as to ea of cts
3,6,9,13 & 22 to run conc Assessed $250
(EOD-2/27/92-CCAP-M).

27 245 MENDEZ: J&C (FAM-2/14/92) Impr 292 mos & 5
yrs supervised rel as to Cts 3,18,19,23
& 24 to run conc Assessed $250 (EOD-
2/27/92-CCAP-M).

27 246 ESCOBEDO&MENDEZ: MINUTES of sent held 2/14/92.

28 247 FALCONA,MAGLUTA, LORENZO: GOVT'S MOTION to file p

 

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248 FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S MOTION
for ext to file resp. vf
249 FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S RESPONSE
to M/bill of particulars. vf
250 FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S RESPONSE
to M/dism re; discrimination. vf
251 FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S RESPONSE
in opp to M/suppr evid seized on or about
10/15/92. vf
252 FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S MOTION
to file oversized pldg. vf
253 GARRUDO: ORDER (KMM-3/10/92) GRANTING M/lv tras
vel (EOD-3/12/92-CCAP). vf
254  FALCONA,MAGLUTA, LORENZO&GARRUDO: GOVT'S RESPONSE
to M/dism ind on factual insufficiency. vt
255 SEALED doc in vault. vt
256 SEALED doc in vault. vt
257 SEALED doc in vault. vt
258 FALCONA,MAGLUTA, LORENZO&GARRUDO: MOTION for Ilvf
reply memo in excess of page limit. vt
259 FALCONA,MAGLUTA, LORENZO&GARRUDO: ORDER (STB-3/201/92))
Govt M/file oversized pldg GRANTED Govt mot
for ext to file resp GRANTED Govt has through
4/10/92 to file resps (EOD-3/24/92-CCAP). vt
260 FALCONA,MAGLUTA, LORENZO&GARRUDO: REPLY to govt's
resp in opp to deft's M/bill of particulars. vf
261 FALCONA,MAGLUTA, LORENZO&GARRUDO: REPLY to govt's
resp to M/dism. vt
262 FALCONA,MAGLUTA, LORENZO&GARRUDO: AFFIDAVIT in
supp of M/dism. vt
263 MAGLUTA: SUPPLEMENTAL AFFIDAVIT of Martin G.
Weinberg in supp of M/suppr. vf
264 MAGLUTA: SUPPLEMENTAL AFFIDAVIT of Martin G.
Weinberg in supp of M/suppr. vt
265 FALCONA,MAGLUTA, LORENZO&GARRUDO: REPLY to govt's
resp to M/suppr evid. vt
266 MAGLUTA,GARRUDO, FALCONA&LORENZO: NOTICE of fil-
ing documents. vt
267 MAGLUTA: CERTIFICATE purs to Local Rule 10G. vt
268 FALCONA,MAGLUTA, LORENZO: GOVT'S RESPONSE in opp
to M/compeli disc. vi
269 FALCONA,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-
4/1/92) Referring pending mots to US Mag Brown|
Setting hrg on 3/30/92 M/compel disc for
4/6/92 @ 9:00 in front of undersigned (EOD-
4/3/92-CCAP). vt
270 ALL DEFTS: GOVT'S RELEASE of lis pendens. Vv
271 BARROSO: EMERGENCY MOTION for release on bnd. Vv
272 BARROSO: JOINT STIPULATION re: case facts. vf
273 BARROSO: MOTION to determine application of sent guide-
lines. vet
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UNITED STATES DISTRICT COURT

 

 

 

CRIMINAL DOCKET U.S. vs 91-6060-cr-FAM
BARROSO, et. al.

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(ate PROCEEDINGS (continued) V. EXCLUDABLE DELAY

(a) (b} {chy (d)

(Document No.)
1992 .
APR 7 | 2744BARROSO: MEMO in supp of M/determine application of sent
guidelines. vf
7 275ABARROSO: ORDER (FAM-4/7/92) DEFERRING ruling on emerg

M/rel on bnd (EOD-4/9/92-CCAP). vet

 

 

 

 

Interval

(per Section I!)

 

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CRIMINAL POCKET ) U. S. vs 1-6060-cr—FAM
, FALCON, et. al.
AO 256A ® LY | Docket No. Def.
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{Document No.) fal (p) teh td)
1992
APR 10 | 274 FALCONASMAGLUTA: GOVT'S RESPONSE to M/disc pertaining to
electronic surveillance. vet
10 | 275 FALCONA&MAGLUTA: GOVT'S RESPONSE to M/suppr electronic
surveillance & inc memo. vi
10 | 276 FALCONA&MAGLUTA: GOVT'S MOTION to file oversized pldg. vf
10 | 277 FALCONA,MAGLUTA&LORENZO: GOVT'S RESPONSE in opp to mot
to traverse & q CA search warrant, M/Franks hrg &
M/suppr evid. vf
13 | 278 FALCONA,MAGLUTA&LORENZO: ORDER (STB-4/7/92) DENYING mot
for lvf memo in excess of page limit (EOD-4/14/92-
CCAP). vf
*9 1279 ALL DEFTS: GOVT'S MEMO re: sent issues. vf
13 |280 BARROSO: PLEA aggrement, deft plea guilty to Cts 2 & 16,
remain cts be dism. vf
13 | 281 BARROSO: MINUTES, change of plea, GUILTY as to cts 2 & 16
held 4/10/92. vf
13 |282 BARROSO: NOTICE of sent date set for 6/16/92 @ 9:00. vf
13 {283 BARROSO: APPEARANCE bond posted 4/10/92, amt $25,000 CSB. vf
13 |284 BARROSO: APPEARANCE bond posted 4/10/92, amt $40,000 PSB. vet
15 285 MAGLUTA: REPLY to resp in opp to M/suppr electronic sur-
veillance. vf
23 | 286 MAGLUTA: REPLY to resp to M/suppr evid. vf
23 |287 ALL DEFTS: MASTER certificate of svc. vit
28 | 288 FALCONA&MAGLUTA: GOVT'S MEMO (suppl) in opp to M/suppr
electronic surveillance. vf
MAY 6 289 FLACONA,MAGLUTA: RESPONSE to govt's ntc of suppl auth. vf
6 290 FALCONA: NOTICE of change of address of csl. vt
8 |291 ALL DEFTS: ORDER (FAM-5/1/92) REFERRING pending mots to
US Mag Brown (EOD-5/12/92-CCAP). vt
*APR 30 £92 ALL DEFTS: MINUTES of hrg on M/compel disc held 4/6/92. vet
JUNE 10 {293 BARROSO: NOTICE (FAM-6/9/92) sent r/s to 6/19/92 @ 9:30
(EOD-6/11/92-CCAP). vi
11 (294 BARROSO: MOTION to cont sent & to exttime to file objs to
p/s/i rpt. vf
12 |295 ALL DEFTS: ORDER (STB-6/12/92) M/traverse permitted to
stand, govt M/lvf resp in excess of limit GRANTED,
Memo in supp of M/Farsnks hrg STRICKEN, Resp to
govt's suppl auth STRICKEN (EOD-6/15/92-CCAP).
12 | 296 BARROSO: ORDER (FAM-6/11/92) GRANTING M/cont sent to
6/26/92 @ 9:00 (EOD-6/15/92-CCAP). vi
18 297 FALCON,A&MAGLUTA: ORDER (STB-6/17/92) DENYING M/discl re:
electronic surveillance (EOD-6/18/92-CCAP). vf
18 298 FALCONA&MAGLUTA: AMENDED RESPONSE to govt's ntc of suppl
auth. vf
22 | 299 FALCON,A,MAGLUTA&LORENZO: REPLY to govt's resp in opp to
M/travers & q CA search warrant. vf
25 | 300 FALCONA,MAGLUTA, GARRUDO&LORENZO: REPORT (STB-6/23/92)
Recomm that M/dism be DENIED Objs be filed w/in 10
days (EOD-6/25/92-CCAP). vi
26 |301 BARROSO: MINTUES of sent held 6/26/92. vf
26 |302 BARROSO: J&C (FAM-6/26/92) Impr 12 yrs & 5 yrs super re}
4$ £° (EbB-8 5918 2EchBoMyon’ Assessed $100 remain cts vf
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UNITED STATES DISTRICT COURT
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d on FLSD Docket 08/12/1998 Page 25 of 66

V. EXCLUDABLE DELAY.

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AO 256A
( oate PROCEEDINGS (continued) Gp). LOCOCO
(Document No.)
1992
JULY 7 {303 GARRUDO: ORDER (LRJ-7/7/92) GRANTING M/allow cosigner on
PSB (EOD-7/9/92-CCAP).

14 |304 LORENZO: MOTION to ropn p/t/d hrg & to set bnd.

15 |305 FALCONA: CERTIFICATE of svc.

15 }306 MAGLUTA: MOTION to file mots late.

15 |307 MAGLUTA: MOTION to supr state.

15 |308 MAGLUTA: MEMO in supp of M/supr state.

16 }309 FALCONS,MAGLUTA, BLANCOSALVAREZ: ORDER (FAM-7/16/92) REFER-

RING M/supr stat & M/file mots late & seald mots to US
Mag Palermo for R&R (EOD-7/17/92-CCAP).

17 )}310 MAGLUTA&FALCONA: MOTION to file motion out of time.

17 |311 MAGLUTA&FALCONA: MOTION to supr evid.

22 |312 FALCONA,MAGLUTA, GARRUDO&LORENZO: ORDER (STB-7/21/92) Set-
ting hrg on M/supr evid, to traverse & quash, for
Franks hrg & to supr for 8/31/92 GOvt resp to M/supr
state on or before 8/21/92 (EOD-7/22/92-CCAP).

23 1313 LORENZO: ORDER (STB-7/22/92) Govt resp to M/ropn p/t/d
hrg w/in 10 days from date of this ord (EOD-7/23/92-
CCAP).

23 314 MACLUTA? ORDER (STB-7/23/92) GRANTING M/lvf 2 mots late
(EOD-7/23/92-CCAP) .

*22 |315 LORENZO: GOVT'S RESPONSE to M/ropn p/t/d hrg.

28 {316 BARROSO: SEALED document in vault.

28 |317 BARROSO: SEALED document in vault.

28 |318 BARROSO: SEALED document in vault.

*27 319 MENDEZ: NOTICE of subst of csl, John C. Mattes in stead
of Michael Korvick.
*27 320 MENDEZ: NOTICE of apr of JOhn C. Mattes as csl.

31 321 FALCONA,MAGLUTA, GARRUDO&LORENZO: ORDER (FAM-7/31/92)
DENYING mots to dism, M/lvf M/supr GRANTED; M/late
filing GRANTED REFERRING cs to US Mag Brown (EOD-
8/3/92-CCAP).

31 322 B-LORENZO: ORDER (STB-7/31/92) DENYING M/reconsid p/t/d
order (EOD-8/4/92-CCAP).

31 323 B-LORENZO: MINUTES of hrg re: M/reconsid p/t/d ord held
7/31/92,

AUG 4 324 FALCONA,MAGLUTA, GARRUDO&LORENZO: AMENDED ORDER (STB-

8/4/92) Gvot resp to M/supr evid on or before
8/19/92 (EOD-8/5/92-CCAP).

4 |325 MAGLUTA: NOTICE of wd of Neil G. Taylor as csl.

6 |326 LORENZO: MOTION for revoc of p/t/d ord & for entry of ptr
or for De Nvov evid hrg & inc memo.

6 |327 LORENZO: TRANSCRIPT of hrg on M/reconsid held 7/31/92 be-
fore Magistrate Stephen T. Borwn, p.1-30.

7 | 328 FALCONG: ORDER (EBD-8/7/92) Deft may attend private view-
ing in advance of svc & burial of wife (EOD-8/11/92-
CCAP).

7 329 FALCONG: EMERGENCY MOTION for furlough in cust.

7 330 FALCON: CERTIFIED COPY OF ORDER (EBD 8/7/92) GRANTING deft
emergency M/furlough in cust (EOD 8/14/92-CCAP).

13 331 LORENZO: NOTICE of suppl auth.

17 332 FALCON, MAGLUTA & BARROSO: TRANSCRIPT of proceedings befor
Judge Moreno 4/6/92, pgs 1-15. CONT'D

 

 

 

 

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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

AO 256A ®

U.S. vs
FALCON, ETAL

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91-6060-CR-FAM

Docket No.

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PROCEEDINGS (continued)
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333 FALCON,A; MAGLUTA; LORENZO & GARRUDO: MOTION for cont.

334 MAGLUTA: GOVT'S RESPONSE in opp to M/supr atate.

335 ALL DEFTS: GOVT'S MOTION to q subp.

336 FALCONA&MAGLUTA: GOVT'S RESPONSE in opp to M/supr evid.

337 FALCONA,MAGLUTA&LORENZO: ORDER (STB-8/20/92) Granting
in part and Denying in part M/supr evid (EOD-
8/31/92~-CCAP).

338 FALCONA,MAGLUTA&LORENZO: OPPOSITION to govt's M/q supb.

339 FALCONA&MAGLUTA: REPORT (STB-8/20/92) Recomm that mot
to supr conversations be DENIED Objs be filed w/in
10 days (£OD-8/31/92-CCAP).

340 LORENZO: GOVT'S RESPONSE to M/revoc of p/t/d ord.

341 FALCONA,MAGLUTA, LORENZO&GARRUDO: NOTICE of filing aff in

supp of M/cont.

342 FALCONA,MAGLUTA, LORENZO&GARRUDO: AFFIDAVIT of Benson B.

Weintraub re: M/cont.

343 FALCONA,MAGLUTA, LROENZO&GARUDO: ORDER (STB-9/4/92) Cont

hrg on mots to 10/13/92 @ 9:30 (EOD-9/8/92-CCAP).

B44 ALL DEFTS: ORDER (FAM-9/9/92) Setting status hrg for

9/17/92 @ 9:00 Oral arg on Objs to R&R set for 10/9/92

@ 9:00 (EOD-9/10/92-CCAP).

345 ALL DEFTS: GOVT'S REPLY to opp to M/q subp.

346 FALCONA,MAGLUTA, LORENZO&GARRUDO: ADM ORDER 92-47 (NCR-
9/1/92) Summoning of jury panels for trials to be
conducted at the Miami Division of the Southern
District of Florida is suspended until 9/15/92 Excl
time 8/24-9/15/92 (EOD-9/15/92-CCAP).

FALCONA: MOTION for resched of stat cnf & aff in supp.

FALCONA, MAGLUTA, LORENZO&GARRUDO: GOVT'S SUPPLEMENT to
M/q subp.

FALCONA: AFFIDAVIT by Albert J. Kreiger re: M/resched
of s/c.

FALCONA&MAGLUTA: REPORT (STB-9/17/92) Recomm Denial of
M/dism Objs be filed w/in 10 days (EOD_9/18/92-

CCAP).
FALCONA, MAGLUTA, GARRUDO&LORENZO: OBJECTIONS to R&R on

mots to dism.

FALCONA,MAGLUTA, GARRUDO&LORENZO: MINUTES of hrg held
9/16/92 re: s/c.

FALCON , MAGLUTA, GARRUDO&LORENZO: ORDER (FAM-9/ 28/92)
GRANTING mots to cont trl, trl r/s to 4/19/93 Cal
call rfs for 4/13/93 @ 2:00 Excl time 8/17/92-
5/2/93 (EOD-9/29/92-CCAP).

354 FALCONA.MAGLUTA, GARRUDO&LORENZO: GOVT'S MOTION to cont

supr hrg.

355 FALCONA,MAGLUTA, GARRUDO&LORENZO: ORDER (FAM-10/2/92)

GRANTING govt's M/cont supr hrg to 11/16/92 @ 9:30

(EOQD-10/5/92-CCAP).

356 FALCONA,GARRUDO,MAGLUTA&LORENZO: ORDER (FAM-10/ 8/92)

DENYING M/dism ind for racial discrimination (EOD-

10/13/92-CCAP).

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AO 256A
(ate PROCEEDINGS (continued) G/-GOGO-C 1 | V EXCLUDABLE DELAY
1992 (Document No.) (a) {o) te) (a)
OCT 14 357 MAGLUTA, FALCONA, GARRUDO&LORENZO: MOTION to reconsid ord
denying M/dism ind for racial discrim in G/J selectiog. vf
22 |358 FALCON, A&MAGLUTA: ORDER (FAM-10/ 19/92) DENYING M/supr
certain conversations (EOD-10/23/92-CCAP). vf
29} 359 MAGLUTA: RULE 10G certificate. vf
29| 360 FALCONA: AFFIDAVIT of Albert J. Krieger re: atty fees. vf
29| 361 MAGLUTA, FALCONA&LORENZO: MOTION to cont hrg on mots to
supr. vet
29) 362 FALCONA: AFFIDAVIT of Albert J. Krieger re: status of defft. vf
29| 363 LORENZO: AFFIDAVIT of Jeffrey S. Weiner re: status of in-
carceration. vt
29\ 364 MAGLUTA: AFFIDAVIT of Martin G. Weinberg re: conditions
of incarceration. vf
29| 365 MAGLUTA, FALCON,GARRUDO,LORENZO: ORDER (FAM-10/29/92) Granding
M/reconsid of objs, nevertheless, M/dism is denied
(EOD-10/30/92-CCAP) . vet
29 | 366 SEALED doc in vault. vf
29 | 367 SEALED doc in vault. vet
29 | 368 SEALED doc in vault. vf
NOV 4 {369 FALCONA: ORDER (STB-11/4/92) Cont hrg on supr till after
the first of the year (EOD-11/4/92-CCAP). ve
10 | 370 FALCONA,: STATEMENT in supp of mot, by movants Jose and
Argelia Rivera. vf
1Q | 371 FALCONA: MOTION for ord purs to customer challenge pro-
visions of the Right to Privacy Act. vf
17 1372 FALCONA: ORDER (STB-11/16/92) Resched hrgs on mot to supr
to 2/22/93 @ 10:00 (EOD-11/17/92-CCAP). vi
23 |373 MENDEZ: J&C ret'd EXEC deft delivered to FCI-Butner, NC
on 11/16/92. vf
*20 |374 FALCONA: GOVT'S MOTION for early prod of doc evid. vi
24 |375 ESCOBEDO: J&C ret'd EXEC, no further action by USM. vf
24 |376 FALCONA: GOVT'S RESPONSE to M/ord purs to customer chal-
lenge provisions of PrivacyAct of 1978 & inc memo. vf
30 |377 MENDEZ: ORDER (11/30/92) Exon CSB & rls bnd to surety
(EOD-12/1/92-CCAP) . vf
DEC 1 878 FALCONA,MAGLUTA&LORENZO: MOTION for bail & in the alt to
amd cond of confinement. vt
1 (879 LORENZO: NOTICE of apr of Jon A. May as csl. vf
1 {380 ALL DEFTS: ORDER (FAM-12/1/92) Setting stat cnf for 12/11-
92 @ 9:00 (EOD-12/2/92-CCAP). ve
8 | 381 BARROSO: J&C ret'd EXEC 12/1/92 deft surr to FPC-Jesup,GA vf
ll 382 ALL DEFTS: MINUTES of hrg held on all Rule 17 mots. vf
*10 383 FALCONA,MAGLUTA,&LORENZO: GOVT'S RESPONSE to M/bail & in
alt to amend cond of confinement. vet
17 384 FALCONA,MAGLUTA&LORENZO: GOVT'S RESPONSE to Court ord of
12/11/92 & submission of docs, docs attached. vf
30 |385 MAGLUTA, FALCONA&LORENZO: RESPONSE to govt's resp to Court
ord. vet
30 386 MAGLUTA, FLACONA&LORENZO: CERTIFICATE of svc. vi
30 387 RIVERA,J&A: GOVT'S RESPONSE (suppl) to M/purs cust challejge. vf

 

 

 

 

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UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

CRIMINAL DOCKET )’ Svs ) 91-6060-cr-FAM
. Barroso, et. al.
1 Ao 256A ® eS Yr. | Docket No. |Def.
(vate PROCEEDINGS (continued) V. EXCLUDABLE DELAY
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1993
JAN 6 388 BARROSO: MOTION to disch bnd. vi
8 389 FALCONA: ORDER (FAM-1/5/93) DENYING M/uns ex parte com-
munication (EOD-1/11/93-CCAP). vt
*7 390 FALCONA,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-1/7/93)
cont trl to 10/4/93 Cal call r/s for 9/28/93 @
2:00 Excl delay 12/11/92-10/4/93 (EOD-1/11/93-CCAP). vf
8 391 FALCONA: ORDER (FAM-1/8/93) for Early prod of docs (EOD-
1/11/93-CCAP). vf
8 392 FALCONA,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-1/8/93) Deny-4
ing M/ord purs to cust challenge provision of the
Right to Privacy act of 1978 (EOD-1/11/93-CCAP). vf
12 |393 FALCON,A&MAGLUTA: ORDER (FAM-1/11/93) STRIKING 1/5/93
resp to govt's mots to disqual as nonconforming
(EQD-1/14/93-CCAP). vf
14 |394 MAGLUTA, FALCONA&LORENZO: STATUS rpt. vi
14 |395 LORENZO: MOTION to ord stricken irrelevant & prej matters
contained in govt pldgs or in alt M/govt ack that no
evid exists that links deft to acts of violence. vf
19 396 FALCONA,MAGLUTA, GARRUDO&LORENZO: MOTION for bill of par-
ticulars. vf
19 397- LORENZO: NOTICE of change of address & phone # of csl. vf
22 | 398 ALL DEFTS: ORDER (STB-1/20/93) Rescheduling supr hres
for 6/14/93 @ 10:00 (EOD-1/25/93-CCAP). vf
27 {399 MAGLUTA&FALCON: ORDER (FAM-1/26/93) GRANTING nunc pro
tune M/lvf oversized pldg (EOD-1/28/93-CCAP). (SEALED Bee |DE 901) vt
29 (400 AFALCON: CERTIFICATE of svc. vi
FEB 3| 401 ALL DEFTS: GOVT'S RESPONSE to M/bill of particulars. vf
3 | 402 ALL DEFTS: NOTICE of designation of Wiliiam Keefer as
Acting United States Attorney. vi
4 ‘403 FALCONA,MAGLUTA&LORENZO: CERTIFICATE of svc. vi
4 |404 FALCONA,MAGLUTA&LORENZO: MOTION for ltd recon if ords
granting govt's M?delay cpl w/paragraphs "D" and
"E" of SDO. vf
4 |405 FALCONA,MAGLTUA&LORENZO: AFFDIAVIT of I. Mark Dachs in
supp of M/itd recon. vf
9 |406 LORENZO: GOVT'S RESPONSE in opp to M/ord strickem irrelevant
& prejudicial matter. vf
9 |407 LORENZO: GOVT'S MOTION to exttime to file resp ot M/str. vf
9 408 BARROSO: ORDER (FAM-2/9/93) Discharging bnd, Govt ret'n
orig mortgage deed & promissory note to deft's cnsl
(EOD_2/10/93-CCAP). vf
9 409 ALL DEFTS: ORDER (FAM-2/8/93) DENYING M/str irrelevant
matters; DENYING M/bill of particulars; DENYING
M/1td recon of Court ords (EOD-2/10/93-CCAP). vf
ll 410 FALCONA,MAGLUTA,GARRUDO&LORENZO: MOTION for bill of par-
ticulars. vt
12 | 411 2BDACONARIODUINO UGOHIDOS ORR IDSX BSI OPE CDE TEX EHOENACN SEALED 7/22/93 | vt
18 412 FLACONA&MAGLUTA: ORDER (FAM-2/18/93-CCAP). vt
MAR 5 413 FALCON,MAGLUTA,GARRUDO&LORENZO: ORDER (FAM-3/5/93) Deny-
ing M/bill of particulars (EOD-3/8/93-CCAP). ve
5 414 LORENZO: ORDER (FAM-3/5/93) DENYING M/ord strike irrel-
evant & prej material (EOD-3/8/93-CCAP). vf
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CRIMINAL DOCKET

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416 LORENZO: MOTION for rls on bail & memo in supp.
417 LORENZO: ORDER (FAM-3/30/93) DENYING M/rls on bail (EOD-
3/31/93-CCAP)
418 ALL DEFTS: GOVT'S MOTION to r/s Garcia hrgs.

419 ALL DEFTS: ORDER (FAM-4/21/93) GRANTING M/r/s Garcia hrg
Garcia hrg r/s to 5/14/93 @ 2:00 (EOD-4/22/93-CCAP).

420 ALL DEFTS: ORDER (FAM-4/26/93) DENYING M/reconsid of
3/11/93 ord gr dfts' M/excl evide (EOD~4/28/93-CCAP).

of ord.

422 ZABALA: GOVT'S RESPONSE in opp to M/supr state.

423 ALVAREZ,V: ORDER & ADVICE (WCT-5/11/93) Initial apr
5/10/93 Bnd set @ $100,000 CSB & $200,000 PSB NO hrg
held Tape #9338-2500 (EOD-5/12/93-CCAP).

424 ALVAREZ,V: APPEARANCE bnd posted 5/11/93 amt $100,000 CSB
Am Bankers Ins Co by Rolando P. Perez, 541-5050.

426 ALVAREZ,V: SDO (WCT~5/10/93) 28 days to file mots.

427 ALVAREZ,V: ARRAIGN on 5/10/93, Plea pf N/G entered, Tape
#93B-48-2500.

428 ALVAREZ,V: NOTICE of perm apr of Simon T. Steckel as csl.

429 LORENZO: NOTICE OF APPEAL by deft. from Order denying
M/rls on bail entered 3/31/93. (FEE NOT PAID)
(Copies USCA, AUSA, USM , USPO, & Csl of Record).

INTERLOCUTORY) ;
430 ALVAREZ: ARREST warrant ret'd EXEC 5/10/93.

431 ALVAREZ: NOTICE of apr of Edward R. Shohat as co-csl.
432 FALCON,A: MOTION for retn of property.

433 FALCON,A: PETITION for Writ of H/C ad test.
434 ALVAREZ: NOTICE of atty apr by Simon T. Steckel.

436 MAGLUTA: MINTUES of Garcia hrg held 5/21/93.

437 ALVAREZ: MOTION to cont supr hrg.

438 MAGLUTA: ORDER (FAM-5/24/93) Csl Weinberg may not com-
municate w/his law partners inc Josepg Oteri re: info
acquired in yrs 1984, 1985 or 1986 (EOD~5/27/93-CCAP)

439 MAGLUTA: ORDER (FAM-5/24/93) Exempting Weinberg from Loca
Rule req local csl (EOD-5/27/93-CCAP).

440 SEALED doc in vault.

441 SEALED doc in vault.

442 SEALED doc in vault.

443 SEALED doc in vault.

444 SEALED doc in vault.

445 SEALED doc in vault.

446 ALVAREZ: GOVT'S RESPONSE in opp to M/cont Supr hrg.

447 ALVAREZ: MINUTES of hrg to advise otys of trl date cont
to 10/4/93.

4.48 ALVAREZ: ORDER (FAM-6/3/93) REFERRING M/cont supr hrg to

US Mag Brown (EOD-6/4/93-CCAP).
449 FALCON,A: MINUTES of hrg on M/cont supr hrg.
--- LORENZO: USCA ack receipt of NOA. (USCA#93-4551)

 

415 ALL DEFTS: MINUTES of hrg re: disqual of csl held 2/23/94.

421 FALCON,A & MAGLUTA: MOTION for ivf resp to govt's M/recons}

425 ALVAREZ,V: APPEARANCE bnd posted 5/11/93 amt $200,000 PSB

435 MAGLUTA, LORENZO&GARRUDO: MINUTES of hrg on witness waivers.

 

 

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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET U.S. vs
FALCON, et. al. ) 91-cr-6060-FAM
AO 256A ® \ Yr | Docket No. Def.
(pate PROCEEDINGS (continued) V. EXCLUDABLE DELAY
(Document No.) ‘a) p) teh} ia)
1993
JUNE 7 |450 ALL DEFTS: APPLICATION for Writ of H/C ad test for
Eufrasio Cortez. vf
8 |451 ALVAREZ: ORDER (STB-6/7/93) DENYING M/supr evid (EOD-
6/8/93-CCAP). vf
*7 452 FALCON: WRIT (FAM-6/7/93) of H/C ad test Eufrasio Cortez
be brought down 6/21/93 (EOD-6/9/93-CCAP). vf
*7 453 FALCON: WRIT (FAM-6/7/93) of H/C ad test Luis Mendez be
brought down 6/21/93 (EOD-6/9/93-CCAP). vf
8 |454 LORENZO: MOTION to set bail based on new & significant
info (EOD-6/9/93-CCAP). vi
10 | 455 ALVAREZ: GOVT'S NOTICE of intent to seek enhanced pen-
alties due to prior conviction. vf
10 | 456 MAGLUTA: GOVT'S NOTICE of intent to seek enhanced pen-
alties due to prior convictions. vi
10 | 457 FALCON,A: GOVT'S NOTICE opf intent to seek enhanced pen-
alties die to prior convictions. vf
11 | 458 ALL DEFTS: ORDER (STB-6/10/93) Denying w/o prej govt's
M/q subp served on Robert Sobel (EOD-6/11/93-CCAP). vt
*10 |459 FALCON,MAGLUTA&LORENZO: GOVT'S NOTICE of suppl auth to
resp to M/traverse & q CA search warrant. vf
*10 |460 ALL DEFTS: GOVT'S NOTICE of apr of cocsl David Troyer. vf
11 |461 LORENZO: ORDER (FAM-6/10/93) Denying M/set bail (EOD-
6/14/93-CCAP). vet
14 |462 FALCONA,LORENZO&MAGLUTA: MINUTES of evid hrg held on mots
to supr. vi
15 | 463 FALCONA,LORENZO&MAGLUTA: MINUTES of evid hrg held on mots
to supr. vt
16 | 464 FALCONA, LORENZO&MAGLUTA: MEMO in supp of ore tenus mot
to call AUSA Clark as wit or in alt to comp dcl of
source of info. vf
16 465 FALCONA, LORENZO&MAGLUTA: MINUTES, evid hrg on Mots to
supr held 6/16/93. vit
17 (466 FALCONA,MAGLUTA&LORENZO: MINUTES of evid hrg on mots to
supr held 6/17/93. vf
*11 {467 LORENZO: MANDATE(USCA 93-4551)DISMISSING the appeal on a
voluntary motion. (USCA#93-4551) tb
21 |468 FALCONA,MAGLUTA&LORENZO: MINUTES of evid hrg held 6/18/93
on Mots to supr. vt
21 | 469 FALCONA,MAGLUTA, LORENZO: MINUTES of evid hrg held 6/21/93
on mots to supr. vei
22 | 470 FALCONA,MAGLUTA&LORENZO: MINUTES of evid hrg held 6/22/97
on mots to supr. vf
23 | 471 FALCONA,MAGLUTA&LORENZO: MINUTES of evid hrg held 6/23/93
on mots to supr. vf
23 | 472 FALCONA,MAGLUTA&LORENZO: EXHIBIT & wit lst. vf
25 |473 MAGLUTA: ORDER (STB-6/24/93) Setting hrg on M/supr state
for 7/21/93 @ 9:30 (EOD-6/28/93-CCAP) . vf
25 |474 FALCONA&MAGLUTA: ORDER (STB-6/24/93) Setting evid hrg on
8/2/93 at 9:30 (EOD-6/28/93-CCAP). vf
28 |475 FALCONA&MAGLUTA: GOVT'S NOTICE of intent to NOIiseek: foxf
on 1988 Jaguar. vf
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476  LORENZO:NOTICE OF APPEAL by deft from the ORDER denying
deft.'s bail bond which was entered on 6/14/93},

(Copies to USCA,AUSA, USM,USPO, S&Atty of recorp)

(FEE paid#625560)

477 FALCON,A,MAGLUTA&LORENZO: EMERGENCY MOTION to comp Falcon's
immediate prod in So Dist, for ord to show cause re:
ea dft's current cust status & req for emerg hrg,
instanter.

478 FALCONA,MAGLUTA,LORENZO: TRANSCRIPT of evid hrg on mots tq
supr, held 6/14/93, VOl. 1, p.1-292.

479 FALCONA,MAGLUTA,LORENZO: TRANSCRIPT of evid hrg on mots tq
supr, held 6/15/93, Col. 2, p. 1-204.

480 FALCONA,MAGLUTA, LORENZO: TRANSCRIPT of evid hrg on mots td
supr, held 6/16/93, Vol. 3, p. 1-234.

48] FALCONA,MAGLUTA,LORENZO: TRANSCRIPT of evid hrg on mots tq
supr, held 6/17/93, Vol. 4, p. 1-246.

482 FALCONA,MAGLUTA,LORENZO: TRANSCRIPT of evid hrg on mots tq
supr, held 6/18/93, Vol. 5, p. 1-215.

483 FALCONA,MAGLUTA, LORENZO: TRANSCRIPT of evid hrg on mots tq
supr, held 6/21/93, VOl. 6, p. 1-234.

484 FALCONA,MAGLUTA,LORENZO: TRANSCRIPT of evid hrg on mots tq
supr, held 6/22/93, Vol. 7, p. 1-232.

485 FALCONA,MAGLUTA, LORENZO: TRANSCRIPT of evid hrg on mots to
supr, held 6/23/93, Vol. 8, p. 1-25.

486 FALCONA: ORDER (FAM-7/1/93) DEFERRING ruling on motion to
compel immediate prod (EOD-7/6/93-CCAP).

487 FALCONA,MAGLUTA&LORENZO: ORDER (FAM-7.1.83) DENYING ap-
plication to show cause as to Magluta & Lorenzo,
DEFERRING ruling as to Falcon (EOD-7/6/93-CCAP).

488 FALCON,MAGLUTA&LROENZO: ORDER (FAM-7/1/93) DENYING mot
for emerg hrg (EOD-7/6/93-CCAP).

489 MAGLUTA, FALCONA&LORENZO: EMERGENCY MOTION for retn of le-
gal materials, for ord prohib further viewing, evid
hrg, for other such rel incl dism.

490 MAGLUTA: ORDER (FAM-7/7/93) GRANTING M/imm retn of siezed
mat, M/prohib viewing; DENYING M/evid hrg & M/dism
(E0D-7/9/93-CCAP).

491 MAGLUTA: GOVT'S MOTION for partial stay of 7/8/93 ord.

492 FALCON,A: GOVT'S RESPONSE to M/compel imemdiate prod of
of dft in So. Dist.

493 MAGLUTA: NOTICE of intent to rest w/o calling affl wits
re: mots to supr state.

494 MAGLUTA: MOTION to show order why sabcts should not be im+
posed for falure to comply with 7.7.83 court ord.

495 FALCON,A: GOVT'S RESPONSE to M/comnpel immediate prod in
So. Dist.

496 MAGLUTA: GOVT'S NOTICE of iling corr copy of resp to
M/compel prod of dft in So. Dist.

497 MAGLUTA: GOVT'S MOTIOn for reconsid of 7/8/93 ord.

498 MAGLUTA: ORDER (FAM-7/19/93) Cancelling evid hrg (EOD-
7/20/93-CCAP).

~---LORENZO: USCA ack receipt of NOACUSCA 93-47040

 

 

 

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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

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499 MAGLUTA: ORDER (FAM-7/15/93) GRANTING M/stay 7/8/93 Cour
ord until 7/23/93 (EOD-7/22/93-CCAP).

500 FALCON,A: ORDER (FAM-7/20/93) DENYING M/compel immediate
prod in So Dist (EOD-7/22/93-CCAP).

501 FALCON,A: REPLY to resp to M/compel immediate prod.

502 GARRUDO: MOTION to ad emerg M/retn of legal materials &
M/dism ind.

503 FALCON,et. al.: ORDER (BLG-7/21/93) Appt FPD as csl for
wit Ray Corona Tape # 93C-111-981 (EOD-7/22/93-CCAP)

504 FALCON,A: ORDER (FAM-7/20/93) SEALING DE #411 (EOD-
7/22/93-CCAP).

505 ALVAREZ: MOTION to str ntc of intent to seek enhanced
penalties & inc memo.

506 ALVAREZ: MOTION to join emerg M/retn of legal materials.

507 MAGLUTA, FALCONA&LORENZO: MEMO in supp of M/show cause

why sanct should not be imposed.

SEALED doc in vault.

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FALCONA&AMGLUTA: MOTION for dcl of ID of wits relied

upon by govt in supp of search warrant & inc memo.
523 MAGLUTA: GOVT'S NOTICE of sealed filing.

524 FALCON&LORENZO: GOVT'S STATUS rpt.

525 MAGLUTA: ORDER (FAM-7/26/93) DENYING M/ord to show why
sanc should not be imposed (EOD-7/29/93-CCAP).

FALCONA,MAGLUTA, LROENZO&GARRUDO: ORDER (FAM-7/26/93)
Maintaining Stay ord (EOD _7/29/93-CCAP).

FALCONA, MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-7/26/93)
re: submission of seized amterial (EOD-7/29/93-
CCAP).

ALVAREZ: ORDER (FAM-7/26/93) DENYING M/str ntc of intent
to seek enhanced penalties (EOD-7/29/93-CCAP).
FALCON: ORDER (FAM-7/26/93) DENYING M/compel immediate

prod in So. Dist. (EOD-~7/29/93-CCAP).

MAGLUTA, FALCON, LORENZO, GARRUDO&ALVAREZ: MOTION for ad-
versarial in camera hearing. .

ALL DEFTS: ORDER (FAM-7/28/93) of Limited ref to US Mag
Stephen T. Brown for evid hrg re: extent of dissem-
ination of materials (EOD~-8/2/93-CCAP).

ALVAREZ: MOTION to supr all illegally seized evid,

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1993
JULY 30 | 533 MAGLUTA: GOVT'S NOTICE of filing document under seal. ve
30 | 534 ALVAREZ: MEMO in supp of M/supr all illegally seized
evid. vi
30 535 ALVAREZ: EXHIBITS in supp of M/supr all illegally seized
evid. vet
30 536 FALCONAG&MAGLUTA: GOVT'S RESPONSE to M/dcl of ID of wit. vf
AUG 2 537 FALCONA&MAGLUTA: MINUTES of evid hrg held 8/2/93 bef Mag
Brown, hrg cont to 8/3/93 @ 9:30. vt
3 | 538 FALCONA&MAGLUTA: MINUTES of hrg held 8/3/93: evid hrg on
mots to supr before Mag Brown, hrg cont to 8/4/93 @
9:30. vf
4 539 FALCONA&MAGLUTA: MINUTES of hrg held 8/4/93: evid hrg on
mots to supr before Mag Brown. vt
4 540 FALCONA&MAGLUTA: EXHIBIT & wit lst. vi
5 541 MAGLUTA: GOVT'S NIOLCE of intent to wd opp to M/supr note} ve
6 542 MAGLUTA, FALCONA, LORENZO, GARRUDO&ALVAREZ: MOTION for mod 4
clar of ord of ltd ref dated 7/26/93 & memo in supp. ve
10 543 MAGLUTA: REPORT (STB-8/9/93) that M/supr note Be GRANTED
Objs be filed w/in 10 days (EOD-8/10/93-CCAP). vE
10 544 MAGLUTA: REPORT (STB-8/9/93) That M/supr state be DENIED
Objs be filed w/in 10 days (EOD-8/10/93-CCAP). vt
10 545 FALCONA,MAGLUTA&LROENZO: REPORT (STB~8/9/93) Recomm that
M/travers & q, for Franks hrg & to supr be DENIED
Objs be field w/in 10 days (EOD-8/10/93-CCAP). vf
10 546 FALCON, MAGLUTA, LORENZO: TRANSCRIPT of Motions to Suppréss
Evid Hrg dated 8/2/93 before Mag Judge Stephen T. Brown “1
Vol. I Pgs-139. Jon
10 547 FALCON, MAGLUTA, LORENZO: TRANSCRIPT of Motions to Suppress
Evid Hrg dated 8/3/93 before Mag Judge Stephen T. Brown
Vol If. Pgs-140-278. jlw
1Q 548 FALCON, MAGLUTA, LORENZO: TRANSCRIPT of Motions to Suppré¢ss
Evid Hrg dated 8/4/93 before Mag Judge Stephen T. Brown
Vol III. Pgs- 279-357. jlw
Ll 549 ALVAREZ, LORENZO, FALCONA,MAGLUTA&GARRUDO: TRANSCRIPT of hrg
on M/cont supr held 6/4/93 before Mag Brown P. 1-6. vf
*3 550 SEALED doc in vault. vf
16 551 ALVAREZ: GOVT'S MOTION to exttime to resp to deft's mot. vf
16 552 FALCONA: MOTION for change of cond of confinement & other
relief. vf
17 553 ALVAREZ: ORDER (FAM-8/16/93) REFERRING M/suppr evid seizell
during search of CA apt to US Mag Stephen T. Brown for
R&R (EOD-8/18/93-CCAP). vf
17 554 ALL DEFTS: GOVT'S BILL of partic. vf
19 555 FALCONA: OBJECTIONS to 8/9/93 R&R. vf
19 556 MAGLUTA: OBJECTIONS to 8/9/93 R&R. vt
19 557 MAGLUTA: OBJECTIONS to 8/10/93 R&R. vi
19 558 MAGLUTA&FALCON,A: CERTIFICATE of svc. vf
19 559 MAGLUTA: NOTICE of joidner in Falcon's M/change of cond
of confinement & other relief. vE
19 560 FALCON,A: ORDER (FAM-8/18/93) DENYING M/change of locs &
cond of confinement & other relief (EOD-8/20/93-CCAP) vt
23 561 ALVAREZ: ORDER (STB-8/19/93) Granting M/exttime, govt resp
to M/supr by 8/27/93 (EOD 8/23/93-CCAP), vi
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UNITED STATES DISTRICT COURT
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FALCONA&MAGLUTA: SUPPLEMENTAL MOTION to suppr & inc memo.

ALVAREZ: GOVT'S MOTION for hrg re: conflict of int & inc
memo.

ALVAREZ: ORDER (BLG-8/23/93) Setting evid hrg on M/supr
all evid for 8/31/93 at 10:00 (EOD-8/24/93-CCAP).

564

565 FALCON,A,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-8/23/93)
Denying M/mod & clarif of ord of ltd ref to US Mag
(EOD_8/24/93-CCAP) .

565 GARRUDO&ALVAREZ: GOVT'S MOTION for hrg re: jt represent-
ation.

566 FALCON,A: GOVT'S MOTION for hrg re: conflict of int & inc
memo.

567 FALCONA,MAGLUTA, LORENZO,GARRUDO&ALVAREZ: MOTION for use

of prp jy questionnaire.
FALCONA, MAGLUTA, LORENZO, GARRUDO&ALVAREZ: MEMO in supp of
M/use of prp jy questionnaire.

569 FALCON,A: GOVI'S MEMO re: waiver.

570 ALVAREZ: EMERGENCY MOTION to cont supr hrg.

571 ALVAREZ: GOVT'S RESPONSE in opp to emerg M/cont supr hrg.

572 ALVAREZ: GOVT'S RESPONSE & inc memo in opp to M/supr ev-

id.

573 ALL DEFENDANTS: ORDER (FAM-8/30/93) DENYING M/use of prp
jy questionnaire.

574 MAGLUTA: NOTICE of apr of Roy Black as csl,

575 ALVAREZ: EMERGENCY PETITION for Writ of H/C ad test or
in alt, to detain material wit.

576 ALVAREZ: EMERGENCY PETITION for Writ of H/C ad test or
in alt to detain material wit.

577 ALVAREZ: ORDER (STB-8/30/93) DENYING M/cont supr hrg
(EOD-9/1/93-CCAP).

578 ALVAREZ: MINUTES of evid hrg held 9/1/93 before Mag

Brown-Crt finds that Franks issue is not basis for

evid hre.

579 ALL DEFTS: MOTION for prot & req for pymnt of expenses
re: subp by wit Ready State Bank.

580 ALL DEFTS: MOTION by mov Manny Arias purs to customer
challenge provisions of the Right to Financial
Privacy Act of 1978.

581 ALL DEFS: MOTION by movs Manny and Gloria Magluta purs
to the Right to Financial Privacy ACt of 1978.

583 FALCON,A&MAGLUTA: GOVT'S RESPONSE to suppl M/supr.

584 MAGLUTA, LORENZO&FALCONA: REPORT (STB-9/2/93) Recomm that
M/supr evid @ LaGorce br Granted & M/supr evid at
Seminole Drive be Denied Objs be filed w/in 10 days
(EOD-9/3/93-CCAP).

585 FALCON,ARCON: MOTION for ord preventing govt from obtain
access to financial records.

586 FALCON,A: RESPONSE in opp to M/hrg re: conflict of int.

587 ALVAREZ: TRANSCRIPT of M/supr held 0¥/v1/93 bef US Mag
Stephen T. Brown, p. 1-47.

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588 MAGLUTA, FALCONA, LORENZO,GARRUDOS&ALVAREZ: MOTION to vacate
7/7/93 Court ord.

589 MAGLUTA: MOTION for del of written statements.

590 ALL DEFTS: ORDER(FAM-9/8/93) Setting s/c for 9/10/93 @
10:00 (EOD-9/9/93-CCAP).

591 MAGLUTA&FALCON,A: REPORT (STB-9/9/93) Recomm that suppl
M/supr filed 8/23/93 be Denied Objs be filed w/in
10 days (EOD-9/10/93-CCAP) .

592 MAGLUTA&FALCONA: MOTION for lv to appear as amicus curiae
(AFPD).

593 FALCONA: MINUTES of hrg held 9/10/93 on motions re: cust-
omer prov. of 1978 FOIA act.

594 GARRUDO: MOTION to str pre} surplusage from ind & inc
memo.

595 ALL DEFTS: ORDER (FAM-9/10/93) DEnying M/traverse & q CA
warr, M/Franks hrg, M/supr evid & M/supr evid seized
in 10/15/91 searches (EOD-9/13/93-CCAP).

596 MAGLUTA: ORDER (FAM-9/9/93) Denying M/supr state purs to
Mag's R&R (EOD-9/13/93-CCAP).

597 FALCON,A: GOVT'S MOTION to file oversized pldg.

598 FALCONA,MAGLUTA&LORENZO: GOVT'S OBJECTIONS to R&R re: mot
to supr searches,

599 FALCON,A: OBJECTIONS to R&R re: entry & search of Ft. Laud

resid.
600 MAGLUTA: GOVT'S NOTICE of unavail of csl from 9/24-27/93.

601 ALVAREZ: MOTION for sv & inc memo.

602 MAGLUTAS,ARIAS&FALCON,A: GOVT'S RESPONSE to M/purs to
customer challenge provision of Right to Privacy
Act & ince memo.

603 ALVAREZ: MOTION to excl evid & inc memo.

604 FALCONA,MAGLUTA, LORENZO,GARRUDO&ALVAREZ: MOTION to enforcd

ord of USDC.

605 FALCON,MAGLUTA&LORENZO: ORDER (FAM-9/13/93) Conditionally
granting emerg M/retn of legal materials, Denying mot
prohibiting further viewing, Denying M/evid hre &
Denying M/dism (EOD-9/16/93-CCAP).

606 ALL DEFTS: ORDER (FAM-9/13/93) GRANTING govt's M/reconsid
7/8/93 ord (EOD-9/16/93-CCAP).

607 ALVAREZ: ORDER (FAM-9/13/93) GRANTING M/join emerg mot
(EOD-9/16/93-CCAP).

608 GARRUDO: ORDER (FAM-9/13/93) GRANTING M/ad M/retn of legal]
materials (EOD-9/16/93-CCAP).

609 MAGLUTA: ORDER (FAM-9/13/93) GRANTING M/dcl re: SDO (EOD-
9/16/93-CCAP) .

610 MAGLUTA, FALCON, LORENZO, GARRUDO&ALVAREZ: ORDER (FAM-9/13/97
Denying M/adversarial in camera hrg (EOD-9/16/93-
CCAP).

611 MAGLUTA, FALCON, LORENZO, GARRUDO&ALVAREZ: ORDER (FAM-9/13/94
Denying M/vac 7/26/93 ord (EOD-9/16/93-CCAP).

612 MAGLUTA,M&G: ORDER (FAM-9/13/93) Gvot resp to mots on or
bef 9/14/93, Deferring ruling on mots until 9/15/93
(EOD-9/16/93-CCAP).

613 ALL DEFTS: GOVT'S NOTICE re: grounds for disq under 28 US@ 4515.

 

 

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UNITED STATES DISTRICT COURT

CRIMINAL DOCKET U.S. vs
) FALCON, et. al.

AO 256A ®

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1993
SEPT 17 | 614 ALL DEFTS: ORDER (FAM-9/16/93) re: trial prep & procedurd
(EOD-9/20/93-CCAP).

17 | 615 ALL DEFTS: ORDER (FAM-9/16/93) DENYING M/supr evid from
Juan Acosta's office (EOD-9/20/93-CCAP).

17] 616 ALL DEFTS: GOVT'S MOTION for ext to comply w/9/13/93
Court ord (EOD-9/20/93-CCAP).

20 | 617 ALVAREZ: REPORT (STB-9/17/93) Recomm that M/supr & M/hrg

be DENIED Objs be filed w/in 10 days (EOD-9/20/93-
CCAP).

20 | 618 ALVAREZ: ORDER (STB-9/17/93) DENYING emerg petns for writ
of H/C or mots for ord detaining material wits (EOD-
9/20/93-CCAP).

20 619 FALCONA&MAGLUTA: OBJECTIONS to R&R of 9/9/93.

20 620 ALL DEFTS: ORDER (FAM-9/20/93) GRANTING govt's M/ext to
comply w/9/13/93 Court ord to 9/29/93 (EOD-9/21/93-
CCAP).

20 621 ALVAREZ: ORDER (FAM-9/17/93)DENYING M/excl evid (EOD-
9/21/93-CCAP).

20 622 ALL DEFTS: ORDER (FAM-9/17/93) DENYING as moot M/enforce
9/15/93 Court ord (EOD-9/21/93-CCAP).

20 623 ALL DEFTS: ORDER (FAM-9/17/93) DENYING M/lvf oversize
pldg (EOD-9/21/93-CCAP).

21 624 GARRUDO: GOVT'S RESPONSE in opp to M/str prej surplusage

from ind & inc memo.

21 625 ALVAREZ: ORDER (FAM-9/21/93) DENYING M/sv of defts
(EOD-9/22/93-CCAP).

21 626 FALCONA,MAGLUTA, LORENZO,GARRUDO&ALVAREZ: GOVT'S RESPONSE
to M/enforce Court ord.

21 | 627 ALVAREZ: GOVT'S RESPONSE to M/sv.

22 628 ALVAREZ: MOTION for a day off from trl.

22 629 ALVAREZ: ORDER (FAM 9/22/93) GRANTING deft's M/a day off
from trl. There will be no trial sched in this
case on 10/8/93. (EOD 9/24/93-CCAP).

23 630 MAGLUTA,S, FALCON,A, LORENZO,0, GARRUDO,A

& ALVAREZ,V: MOTION for disclosure of ex parte submiss
& transc of in camera proceedings.

24 631 FALCON,A, MAGLUTA,S & LORENZO,0: GOVT'S REVISED objs to
Mag's R&R w/respect to defts' M/suppress searchs
of 10/15/91.

24 |632 FALCONA, MAGLUTA, LORENZO,GARRUDO&ALVAREZ: MOTION to req
govt to prod p/s/i rpts of govt wits for in camera
insp by the Court.

24 |633 ALVAREZ: OBJECTIONS to R&R of 9/17/93.

24 |634 MAGLUTA: REPLY by movants to Govt's resp to M/purs cust-
omer challenge to Right to Financial Privacy Act of
1978.

27 635 MAGLUTA&LORENZO: RESPONSE to govt objs to R&R.

28 636 MAGLUTASFALCON: REPORT (STB-9/27/93) Recomm that M/supr

evid seized in searches conducted on or about 9/18-
20/93 be Denied Objs be filed w/in 10 daus (EOD-
9/28/93-CCAP).

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SEPT 27 | 637 LORENZO: MOTION for sv & inc memo.

27 | 638 LORENZO: DEMAND for inf purs to Brady & inc memo,

27 | 639 LORENZO: RENEWED MOTION for bp & inc memo.

27 630/ALL DEFTS: GOVT'S MOTION for anonymous jury & inc memo.

28 6314 MAGLUTA&FALCONA: MOTION to dism ind for viol of double
jeopardy clause.

28 632AALVAREZ: EMERGENCY MOTION to seal govt's M/anon jy.

29 633A4LL DEFTS: AFFIDAVIT of Jorge Rabelo re: extent of test.

29 6344ALL DEFTS: AFFIDAVIT of Hector Lopez re: extent of test.

29'| 635AMAGLUTA: GOVT'S MOTION to seal filing (sealed docs filed
separately).

29 | 636/MAGLUTA: GOVI'S RESPONSE to omnibus ords of 9/15/93.

29 63 7 MAGLUTA , FALCON , LORENZO , GARRUDOS ALVAREZ: MOTION for cont
of trl.

29 638/ FALCON , MAGLUTA, LORENZO, CARRUDOSALVAREZ: OBJECTIONS to
Govt's exh lst.

29 639/ALVAREZ: MOTION to supr cocaine & other evid seized
1/19/87 & inc memo.

30 | 640 ALL DEFTS: MEMO in opp to govt's M/anon & seq jy.

30 641 MAGLUTA&FALCON: ORDER (FAM-9/30/93) Denying M/dism ind
for viol of double jeopardy clause (EOD-10/1/93-CCAP).

30 | 642 MAGLUTA&LORENZO: ORDER (FAM-9/30/93) Granting M/supr evid
sezied in 10/15/91 searches & DENYING Falcon's M/sup1
purs to R&R (EOD-10/1/93-CCAP).

30 643 GARRUDO: ORDER (FAM-9/30/93) DENYING M/str nickname "cun4"
from ind (EOD-10/1/93-CCAP).

30 | 644 ALL DEFTS: ORDER (FAM-9/30/93) DENYING M/dcl of ex parte
subnissions & tn of in camera proceed (EOD-10/1/93-
CCAP).

30 645 ALVAREZ: ORDER (FAM-9/30/93) DENYING M/seal govt's M/anon
jy (EOD-10/1/93-CCAP).

30 646 MAGLUTA, FALCON, LORENZO,GARRUDO&ALVAREZ: ORDER (FAM-9/30/93)
Granting in Part, Denying in Part M/req govt to prod
p/s/i rpt (EOD-10/1/93-CCAP).

30 | 647 LORENZO: ORDER (FAM-9/30/93) Granting M/specific demand
for Brady info (EOD-10/1/93-CCAP).

30 | 648 MAGLUTA&FALCON: ORDER (FAM-9/30/93) Denying M/supr evid
seized in 9/18~-20/89 searches purs to R&R (EOD-
10/1/93-CCAP).

30 649 LORENZO: ORDER (FAM-9/30/93) Denying M/sv (EOD-10/1/93-
CCAP).

30 650 ALVAREZ: ORDER (FAM-9/30/93) Denting M/supr evid & M/evid
hrg ours to R&R (EOD-10/1/93-CCAP).

30 651 ALL DEFTS: ORDER (FAM-9/30/93) DENYING M/cont trl (EOD-
10/1/93-CCAP).

OCT l 652 ALVAREZ: OBJECTIONS to exhs listed on govt's wit lst &
inc memo.
*SEPT 30 653 MAGLUTA & LORENZO:ORDER(FAM 9/30/93)RATIFYING, AFFIRMING
and APPROVING in its entirety the ORDER GRANTING
MAGLUTA & LORENZO'S motion suprress evidence seizdd ih
searches conducted on or about 10/15/91 & ORDER defying
FALCON'S motion to suppress to mag's R&R. (EOD 10/@1/9B)
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UNITED STATES DISTRICT COURT
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FALCON, MAGLUTA, LORENZO,GARRUDO,ALVAREZ:NOTICE OF APP
by USA from the ORDER ratifying, affirming and
approving the motion to suprress which was ente
on 10/01/93. (Fee not required) (Copies to USCA,
USM, USPO, &Atty of record) [93 - Ace,

MAGLUTA , FALCON, LORENZO, GARRUDO,ALVAREZ:ORDER(FAM 1

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SEVERING defts' MAGLUTA & LORENZO based upon stay reshlti

from the government's appeal & order DENYING stay as
defts FALCON, GARRUDO, ALVAREZ. (EOD 10/01/93)

ALVAREZ&GARRUDO: MINUTES of hrg re: conflict waivers
held 8/31/93.

ALL DEFTS: ORDER (FAM-10/1/93) DENYING AFPD's mot of
9/9/93 for lv to apr as amicus curiae; Granting
govt's 8/23/93 M/hrg re: jt rep; Granting govt's
8/23/93 M/hrg re: conflict of int; Granting govt's
8/23/93 M/hrg re: conflict of int; DENYING Magluta
& Falcon's M/dcl ID of wits; DENYING Magluta's
8/19/93 M/change cond of confinement (EOD-10/4/93-
CCAP).

FALCON&ALVAREZ: ORDER (FAM-10/1/93) Accepting waivers
re: csl's prior rep of govt wits (EOD-10/4/93-CCAP).

ALL DEFTS: GOVT'S MOTION for jt trl, sugg of lts recon-
sid of supr ord & req for emerg hrg.

ALVAREZ: RESPONSE in opp to govt's M/anon & seq jy.

FALCON&MAGLUTA: MOTION for finding that defts dble jeo-
pardy claims are non-frivolous & for stay of proceed
pending interloc appeal.

FALCON, GARRUDO&ALVAREZ: MOTION for ord rescinding ord
barring L. Mark Dachs from courtrrom during trl.

GARRUDO: GOVT'S NOTICE of intent to seek enhanced pen-
alties due to rpior conviction.

FALCON , MAGLUTA, LORENZO, GARRUDO& ALVAREZ: GOVT'S STATEMENT
of cs, for voir dire of jy, re: publicity issues.

ALVAREZ: ORDER (FAM-10/5/93) OVERULING objs to exh lst
on Govt's wit lst (EOD-10/6/93-CCAP).

FALCON , MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-10/4/93)
Granting M/jt trl; Denying sugg of ltd reconsid,
Granting req for emerg hrg (EOD-10/6/93-CCAP).

ALL DEFTS: ORDE (FAM-10/5/93) Denying Arias' M/ord purs
to cust challenge provisions (EOD-10/6/93-CCAP).
FALCON ,MAGLUTA, ALVAREZ, LORENZO&GARRUDO: ORDER (FAM-10/5/

Denying M/excl evid (EOD-10/6/93-CCAP).

FALCON , MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-10/5/93) Deny
ing Govt M/anon jy (EOD-10/6/93-CCAP).

FALCON, MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-10/5/93) Re-
ferring M/supr Cocaine & other evid to US Mag Stephet
T. Brown for R&R (EOD-10/6/93-CCAP).

FALCON ,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-10/5/93) Deny

M/ord rescinding ord barring L. Mark Dachs from court

romm during trl (EOD-10/6/93-CCAP).
LORENZO: ORDER (FAM-10/5/93) GRANTING M/bp (EOD-10/6/93-

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673 FALCON&MAGLUTA: ORDER (FAM-10/5/93) Denying M/finding thag
defts' double jeopardy clms are non-frivolous & Deny-
ing M/stay pending iterloc appeal (EOD-10/6/93-CCAP).

674 ALL DEFTS: ORDER (FAM-9/30/93) DENYING govt's M/seal & or¢
giving materials over to defts (EOD-10/6/93-CCAP).

675 FALCON,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-10/5/93) Re:
dissemination of sealed docs (EOD-10/6/93-CCAP).

676 FALCON ,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-10/4/93) Vac-

ating ord deny govt's M/seal, M/seal Granted, cc of

material have been erturned, rendering ord to retrn

materials moot McClain hrg set for 10/12/93 @ 2:00

(EOD-10/6/93-CCAP) .

DEFTS: ORDER (FAM-10/4/93) VACATING ord of sv. Case

STAYED oenbding ruling by llth Circuit on supr mat-

ter appealed by Govt (EQD-10/6/93-CCAP).

678 MAGLUTA: NOTICE OF APPEAL by deft from Order denying
mn/dism ind for violation of double jeopardy clause
entered on 10/1/93. (FEE PAID, RECEIPT #629090) (43
(Copies to USCA, AUSA, USM, USPO & Csl of Record)

FALCON, A: NOTICE OF APPEAL by deft from Order denying

m/dism ind for violation of double jeopardy clause. ,
entered on 10/1/93. (FEE PAID, RECEIPT #629091) (4 *
(Copies to USCA, AUSA, USM, USPO & Csl of Record)

680 MAGLUTA&LORENZO: MOTION for lvf M/re: supr of evid upon
retn of juris to Dist Crt & memo in supp.

681 FALCONA&MAGLUTA: OBJECTIONS to 9/27/93 R&R.

682 ALVAREZ: ORDER (STB-10/7/93) Govt has through 10/21/93

‘toe resp to M/supr cocaine & other evid (EOD-10/12/93-
CCAP).

683 FALCON,MAGLUTA, LORENZO&GARRUDO: MINUTES of s/c held 10/1/

684 FALCON,GARRUDO,ALVAREZ: MINUTES, Day # 1, j/t not held re:

interloc appeal.

685 FALCON,MAGLUTA, LORENZO,GARRUDO&ALVAREZ: TRANSCRIPT of pro-

ceed held 10/4/93 before Judge Federico A. Moreno,
Pages 1-57.

686 FALCON,MAGLUTA, LORENZO,GARRUDO&ALVAREZ: MEMO in opp to
govt's M/uns 3-page doc & del its content to trial

team for use @ trl.
687 FALCON&MAGLUTA: ORDER (FAM-10/14/93) Overruling objs to

Mag Brown's R&R of 9/27/93 (EOD-10/19/93-CCAP).

688 MAGLUTA&LORENZO: ORDER (FAM-10/14/93) DENYING M/lvf M/re:
supr of tainted evid (EOD-10/19/93-CCAP).

689 LORENZO,GARRUDO&ALVAREZ: ORDER (FAM-10/14/93) setting
McClain hrg for 10/22/93 @ 9:30 (EOD-10/19/93-CCAP).

690 GARRUDO: MOTION for rtn of passports.

691 ALVAREZ: GOVT'S MOTION for ext to resp to M/supr evid
seized 1/19/87.

----FALCON & MAGLUTA: USCA ack receipt of NOA.

677 ALL

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(USCA#93-5096)

692 FALCON & MAGLUTA: TRANSCRIPT of trial proceedings held on
10/01/93. pages 1-10

 

 

 

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(vate PROCEEDINGS (continued) V. EXCLUDABLE DELAY
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OCT 27 | 693 LORENZO: MINTUES of McClain hrg held 10/22/93. ve
27 | 694 GARRUDO: MINTUES of McClain hrg held 10/22/93. vi
27 695 GARRUDO: ORDER (FAM-10/27/93) Govt resp to M/retn of
passports w/in 10 days (EOD-10/28/93-CCAP). vet
NOV 4 696 ALVAREZ: ORDER (STB-11/3/93) GRANTING M/ext to 11/12/93
for govt to resp to M/supr (EOD-11/4/93-CCAP). cd
5 697 FALCON,MAGLUTA, LORENZO, GARRUDO&ALVAREZ: MEMO in reply to
to resp to opp to unsealing 3-page accounting. vet
8 ~--- FALCON, MAGLUTA: DESIGNATION OF DOCUMENTS tb
8 698 FALCON,MAGLUTA, LORENZO&GARRUDO: ORDER (FAM-11/5/93) Pre-
cluding USA from mentioning to jury that some of the
people alleged to have been associated with this en-
terprsie are now dead (EOD-11/10/93-CCAP). vf
9 |699 GARRUDO: GOVT'S MOTION for rls of passport from pretrl
svcs. vet
12 }700 ALVAREZ: GOVT'S RESPONSE to M/supr evid. vi
17 701 GARRUDO: ANSWER to Govt's M/rls of passport. vf
18 702 GARRUDO: MOTION for bill of particulars. vt
21 703 GARRUDO: ORDE (FAM-11/19/93) DENYING M/bill of particu~
lars (EOD-11/23/93-CCAP). vf
21 | 704 ALVAREZ: ORDER (FAM-11/19/93) Setting McClain hrg for
12/6/93 @ 9:00 (EOD-11/23/93-CCAP). vt
22 705 MAGLUTA: ORDRE (FAM-11/22/93) DENYING govt req to uns 3-
page doc & del cotnents to trl team (EOD-11/24/93-
CCAP). vf
DEC 7 |706 MAGLUTA: DECLARATION of Gary Wade. vi
9 | 707 ALVAREZ: NOTICE (STB-12/8/93) Setting hrg on M/supr for
3/11/94 @ 10:00 (EOD-12/9/93~CCAP). vf
*NOV 30 | 708 FALCON&MAGLUTTA: MANDATE (USCA 11/30/93)DISMISSINGAppeal
on voluntary basis. (USCA#93-5096) tb
DEC 13 | 709 LORENZO: MOTION to compel govt to comply w/Crt ord & ine
memo. vf
14 | 710 MAGLUTA: GOVT'S MOTION for reconsid and/or clarif of
11/22/93 ord. vf
21 | 711 FALCON,MAGLUTA, LORENZO, GARUDO&ALVAREZ: RESPONSE to govt's
M/reconsid or clar of 11/22/93 ord. vi
1994
JAN 11 {712 GARRUDO: ORDER (FAM-1/11/94) Denying M/retn of passports,
Granting M/rls of passport to Special Agent James
Gregorius, DEA (EOD-1/13/94-CCAP). vf
18 |--— MAGLUTA: CERTIFICATE OF READINESS of ROA transm to USCA
(USCA #93-5069). cs
18 |—— MAGLUTA: RECORD ON APPEAL consisting of 2 vols pldgs &
8 vols transc. transm to USCA (Miami Office)
(USCA #93-5069). cs
29 |713 ALVAREZ: MINUTES of hrg re: PTS rpt, deft remanded into
cust pending trl, Bond revoked. vf
31 |714 LORENZO: SECOND MOTION to comp compl w/10/5/93 ord. vf
Feb 1 |-- MAGLUTA & LORENZO: CERTIFICATE OF READINESS of lst suppl
ROA transm to USCA (USCA #93-5069). cs
1 j|-- MAGLUTA & LORENZO: 1ST SUPPLEMENTAL ROA consisting of
1 _accordian folder exhs transm to USCA (Miami Office)
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715 LORENZO: GOVT'S BILL of Particulars.

716 ALL DEFTS: ORDER (FAM-2/4/94) Setting trl for 1/3/95 Cal
cal for 12/20/94 at 2:00 (EOD-2/7/94-CCAP).

717 ALVAREZ: TRANSCRIPT of proceed held 1.26.94 before Judge
Federico A. Moreno, p.1-9.

718 ALVAREZ: MOTION to reinstate ptrl rls & inc memo.

719 ALL DEFTS: GOVT'S NOTICE of rasgn to AUSA Christopher J.
Clark.

720 ALVAREZ: EMERGENCY SUPPLEMENT to M/reinstate partial rls.

721 ALVAREZ: MINUTES, hrg on results of urine test, held
2/18/94.

722 ALVAREZ: SECOND EMERGENCY SUPPLEMENT to M/reinstate pre-
trl ris.

723 ALVAREZ: GOVT'S RESONSE (suppl) to M/reinstate rls.
724 ALVAREZ: MOTION to cont evid hrg on M/supr.

----MAGLUTA & LORENZO: USCA ack receipt of Certificate of

readiness (USCA#93-5069)

725 ALVAREZ: GOVT'S 2nd SUPPL RESPONSE to M/reinstate rls.

726 FALCONA: GOVT'S RESPONSE to opp to ntc of apr of cnsl.

727 FALCONA,MAGLUTA, LORENZO, GARRUDO&ALVAREZ: MOTION to grant
by default opposition to apr of AUSA Michael Sullivan,
and for hrg re: atty participation, and for other
appropriate relief as warranted.

728 LORENZO: MOTION to declare Bail Reform Act unconstitional
as applied to deft & for relief purs to 18 USC 3142 &
memo in supp.

729 ALVAREZ: RENEWED MOTION to reisntate ptrl rls & inc memo.

730 FALCONA,MAGLUTA, LORENZO,GARRUDO&ALVAREZ: GOVT'S RESPONSE
(suppl) to opp to nte of atty apr.

~-- MAGLUTA: 2ND SUPPLEMENTAL ROA consisting of 1 vol pldgs

transm to USCA (USCA #93-5069).

731 ALVAREZ: SUPPLEMENT to M/reinstate ptr.

defts' opp to AUSA Sullivan's apr & participation are

733 LORENZO: ORDER (FAM-4/13/94) DENYING Mots to declare Bail
Reform Act Unconstitutional and M/rel purs to 18 USC
3142 (EOD-4/19/94-CCAP) .

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732 FALCONA,MAGLUTA, LORENZO, GARRUDO&ALVAREZ: ORDER (FAM~4/12/94)

---~ MAGLUTA: USCA ack receipt of Certificate of readiness (USGA#9

DENIED, M/removal of SUllivan DENIED (EOD-4/18/94-CCAP).

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U.S. vs. LORENZO, FALCON, BARROSO, et. al. PAGE _OF____ PAGES
DATE NR. PROCEEDINGS
1994
April 19| 747| LORENZO: MANDATE (USCA 04/15/94) DISMISSING APPEAL on voluntary motion.
| (USCA 93-4704). ps(R)
MAY 17 748| ALVAREZ: ORDER (FAM—3/9/94) DETAINING deft ALVAREZ, DENYING M/reinstate gi
pretrial release & DENYING renewed M/to reinstate pretrial release
(EOD 5/17/94).
17 749| ALVAREZ: NOTICE OF APPEAL filed by deft ALVAREZ from Order DETAINING Deft gi
ALVAREZ, DENYING M/to reinstate pretrial release and DENYING
renewed M/to reinstate pretrial release. Entered 5/17/94.
FEE PAID receipt #637028 ($105.00). Copies to USCA, AUSA, USPO,
USM, and counsel of record. (EOD 5/17/94).
27 750 ALL DEFTS: ORDER (FAM-5/27/94) GRANTING govt's M/recon of 11/22/93 ord denying
req to unseal 3-page doc (EOD-6/3/94-CCAP). ve
31 751 MAGLUTA: GOVT'S NOTICE of 90-day pend of mot. wt
*27 | --- | ALVAREZ: USCA ack receipt of NOA. (USCA#94-4523) tb
JUN 08 752 MAGLUTA: GOVT's Notice of Intent to use evid. jlw
08 | 753 MAGLUTA: MOTION to dism or in the alt, to cont trial date and inc memo. j lw
13 754 FALCON, MAGLUTA, LORENZO, GARRUDO, ALVAREZ: UNOPPOSED Motn for Enlgmt of time
to resp to Notice of Intent to use evid. jlw
14 ; 755 FALCON, MAGLUTA, ORLAND, LORENZO, GARRUDO, ALVAREZ: OBJECTIONS to Court's
Order of 5/27/94, and MOTION for reconsideration of Order granting
Govt's m/reconsideration. H lw
16 |756 FALCON, MAGLUTA, LORENZO, GARRUDO, ALVAREZ: ORDER (FAM 6/14/94) GRANTING dfts'
6/13/94 unopposed motion to exttime until 7/11/94 to file motions in
resp to Govt's notice of intent to use evidence (EOD 6/24/94 CCAP) k
23)|757 LORENZO: DFT MOTION for bill of particulars Ek
23 758 | LORENZO: DFT MOTION to dism indictment for violation of double jeopardy clause sk
24 759 | ALL DFTS: GOVT MOTION for exttime to respond to motions DE's 753 +755 sk
28 760 | MAGLUTA (ALL DFTS) GOVT RESPONSE to DE 755 obj and mot for reconsideration of
DE 750 5/27/94 order sk
29 | 761 | ALVAREZ et al: ORDER/NOTICE (STB 6/29/94) OF 10:00 8/9/94hrg on mot to cont
evidentiary hrg on mot to suppress (EOD 7/6/94 CCAP) sk
JUL 5 762 FALCON, MAGLUTA, LORENZO, GARRUDO AND ALVAREZ: DFT'S UNOPPOSED MOTION for further
exttime to respond to Govt notice of intent to use evidence filed 6/8/94] sk
15 | 763 FALCON, et al,: ORDER (FAM 7/13/94) GRANTING DFT's 7/5/94 mot for exttime until
8/1/94 to file mot to suppress 3 pg document (EOD 7/19/94 CCAP) sk
15 764 | ALL DEFTS: ORDER (FAM 7/13/94) GRANTING USA 6/24/94 motion for exttime to resp
to motion DE's 753 + 755 by 7/15/94 (EOD 7/19/94 CCAP) sk
18) 765 LORENZO: GOVT RESPONSE in opp to dtt's motion for supplemental bill of particulazs sk
20] 766 LORENZO: GOVT RESPONSE to mot to dism indictment for violation re double jeopardy | sk
20| 767 |MAGLUTA & LORENZO: GOVT UNOPPOSED MOTION to file response out of time sk
20/768 | ALVAREZ: NOTICE of conflict and agreed MOTION to cont suppression hrg of 8/9/94 sk
21| 769 |MAGLUTA: GOVT RESPONSE to motion to dismiss indictment or cont trial sk
27| 770 | MAGLUTA: DFT RESPONSE to response to mot to dism indictment or to cont trial sk
Aug 1/771 | FALCON, MAGLUTA, LORENZO, GARRUDO AND ALVAREZ: DFT MOTION to suppress three-page
document and preclude its admission at trl sk
1 772 FALCON et al.,: DFT MEMO in support of 8/1/94 mot to suppress three-page doc and
to preclude its admission at trl sk
(CONTD)

 

 
Case 0:91-cr-O6060-FAM Document 1379 Entered on FLSD Docket 08/12/1998 Page 43 of 66

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CRIMINAL DOCKET CONTINUATION SHEET

 

PLAINTIFF

USA

DEFENDANT 91-6060-CR-MORENO

DOCKET NO.

FALCON et al., PAGE ___OF PAGES

 

 

 

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PROCEEDINGS

 

 

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V. ALVAREZ: ORDER (STB 8/2/94) GRANTING dft mot to cont suppression hrg, reset
until 10:00 9/13/94 (EOD 8/3/94 CCAP)
V. ALVAREZ: MANDATE (USCA 7/28/94 issd as mandate) DISMISSING Appeal on mot of
appellant. (USCA #94-4523). (copy to Judge).

FALCON, MAGLUTA, LORENZO, GARRUDO AND V. ALVAREZ: DFT MOTION and memo for
DISCLOSURE of written summaries of expert testimony

FALCON: DFT MOTION TO DISMISS or in the alternative for cont of trl and memo

GARRUDO: WARRANT RETURNED executed (ARREST) on 5/17/91

FALCON: GOVT MOTION for exttime to respond to 8/1/94 dft mot to supr 3-pg doc.

and preclude its admission at trail

FALCON: GOVT RESPONSE to dft mot to dism

FALCON: GOVT MOTION for exttime to respond to dft mot to supr 3 pg doc. sk

FALCON: DFT REPLY to response to dft mot to dism and affidavit of Krieger sk

FALCON et al,: ORDER (FAM 9/9/94) ON MOTIONS AND ORDER OF REFERENCE; Govt 7/20/94
mot to file resp to Magluta's-mot to dism the indictment and-Lorenzo's mot to
dism indictment re double jeopardy is GRANTED; Govt 8/18/94 mot for exttime
to resp to 8/1/94 mot to supr a 3-pg doc and to preclud its admission is
GRANTED for add'l 20 days; 6/8/94 ntc of intent to use evidence (3 Pg doc)
ruling DEFERRED until trl; Lorenzo's 6/23/94 mot to dism indictment re double
jeopardy is DENIED; Magluta's 6/8/94 mot to dism or cont trl is DEFERRED until
USCA rules on Govt appeal of suppression order; Falcon's 8/8/94 mot in the
alt to cont trl is DENIED; REFERRING to Magistrate Brown- Falcon's 8/8/94
mot to dism indictment and Falcon, Magluta, Lorenzo,Garru
8/4/94 mot for disclosure fo written summaries ofexpert testimony (EOD
9/15/94 CCAP)

ALVAREZ: MINUTE ENTRY for hrg on mot to supr evidence before STB on 9/13/94

LORENZO: MOTION by dft to consider Lorenzo's mot to dism indictment for vio
of double jeopardy clause on the merits

LORENZO: DFT MOTION + MEMO to DISMISS or to release dft on bnd and to cont trl

FALCON, MAGLUTA, LORENZO, GARRUDO AND ALVAREZ: MOTION to RECONSIDER cnsl's
request to use "note book" computers in ctrm during trl

MAGLUTA: DFT MOTION for reconsideration of DE 782 Order deferring determination

of 6/8/94 mot to dism indictment or in the alternative to cont trl date
A. FALCON, MAGLUTA, LORENZO, BLANCO, GARRUDO, ALVAREZ, G. FALCON: ORDER (FAM

10/18/94) GOVT 9/8/94 mot for exttime to resp to dft mot to supr a 3-page doc
is GRANTED, resp due 9/23/94; A. FALCON, MAGLUTA, LORENZO, GARRUDO AND
ALVEREZ' 9/15/94 JT MOT to reconsider dft req to use notebook computers in
ctrm during trl in DENIED; DFT LORENZO 9/15/94 MOT to DISM IS DENIED; or in
the alt to rlse dft on bond and cont trl is DENIED wo predj to refile after
MANDATE by lith Circ; DFT MAGLUTA 9/27/94 MOTION for recon of ord deferring
determination of dft mot to dism indictment or to cont trl date is set for
hrg on 10/25/94 (EOD 10/20/94 CCAP)
FALCON, MAGLUTA, LORENZO, GARRUDO AND ALVAREZ: DFT MOTION TO COMPEL the govt to
ID w specificity the doc's it intends to rely upon at tril and memo
FALCON et al: STATUS CONFERENCE held before FAM
MINUTE ENTRY of 10/25/94 stat cnf held before FAM
LORENZO: DFT MOTION to DISMISS or in the alternative to RELEASE dft on BOND
based on govt VIOLATION of human rights under INT'L LAW and memo
ALVAREZ: R & R (STB 11/9/94) tha DFT MOT TO SUPR cocaine and other illegal
evidence seized on 1/19/87 be DENIED (EOD 11/15/94 CCAP)
FALCON, MAGLUTA, LORENZO, GARRUDO AND V. ALVAREZ: ORDER (STB 11/9/94) GRANTING
DFT 8/4/94 MOT for DISCLOSURE OF WRITTEN SUMMARIES of EXPERT TESTIMONY,
GOVT to disclose before 11/30/94 (EOD 11/15/94 CCAP)
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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

U.S. vs
) AUGUSTO FALCON et al.,

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) 91-6060-CR-FAM

Docket No

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V. EXCLUDABLE DELAY

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AO 256A ®
(ate PROCEEDINGS (continued)
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Nov 10 794 FALCON, MAGLUTA, LORENZO, GARRUDO AND ALVAREZ: GOVT
ReQuestT for EXPERT WIINESS gummary

17 795 ALVAREZ: DFT OBJECTION to 11/9/94 RK & R BY STB

23 796 R & R (STB 11/23/94) re DENYING A.FALCON'S MOTION to
DISMISS or in the alternative to CONT TRL of 8/8/94
(EOD 11/29/94 CCAP )

28 797 GOVT RESPONSE to FALCON, MAGLUTA, LORENZON GARRUDO and
and ALVAREZ motion to COMPEL the govt to IDENTIFY w
specificity the doc's it intends to rely upon at trl

Dec 2 798 FALCON: OBJECTIONS to 11/23/94 R&R of STB and AFFIDAVIT
of A.J. Krieger

6 799 FALCON: SUPPLEMENT TO OBJECTIONS to 11/23/94 R&R of STB
and AFFIDAVIT of A.J. Krieger

7 -- LORENZO, GARRUDO, ALVAREZ: GUILTY PLEAS - LORENZO TO
Count 2; GARRUDO to Count 3; ALVAREZ to Count 3 (hrg he

8 800 LORENZO, GARRUDO, ALVAREZ: MINUTE ENTRY for GUILTY PLEAS:
DEFTS to remain in custody pending sentencing; exhibits
from plea hrg attached to plea agreements; counsel wd
any pending motions as moot in view of plea - to be
denied as moot; hrg held on 12/7/94 before FAM

8 801 LORENZO: NOTICE of 9:00 2/17/95 sentencing before FAM

8 802 LORENZO: PLEA AGREEMENT; GUILTY as to Count 2

8 803 LORENZO: FACTUAL BASIS for plea

8 804 GARRUDO: NOTICE of 9:00 2/17/95 sentencing before FAM

8 805 GARRUDO: PLEA AGREEMENT; GUILTY as to Count 3

8 806 GARRUDO: FACTUAL BASIS for plea

8 807 ALVAREZ: NOTICE of 9:00 2/17/95 sentencing before FAM

8 808 ALVAREZ: PLEA AGREEMENT; GULLTY as to Count 3

8 809 ALVAREZ: FACTUAL BASIS for plea

8 810 AFALCON,MAGLUTA, BLANCO, G. FALCON: ORDER (FAM 12/8/94)
GRANTING 8/8/94 DE 776 mot to cont trl; trl specially
RESET to 3/6/95 9:30; CALENDAR CALL 2:00 2/28/95;

CONT inthe interest of justice from 12/8/94 to 3/6/95
(EOD 12/15/94 CCAP)

14 |811 A. FALCON: ORDER (FAM 12/13/94) DENYING dft 8/8/94 mot
to DISM or CONT of trl (EOD 12/19/94 CCAP)

22 |812 A. FALCON, MAGLUTA:DFT MOTION to COMP govt to comply w

1995 BRADY, NAPUE & GIGLIO obligations & the SDO and memo
Jan 6 813 FALCON: DFT MOTION to RECONSIDER the length of time of th
continuance granted in 12/8/94 order and aff of
Albert Krieger
18 | 814 LORENZO: DFT MOTION RETURNING DFT to SDFL 14 days before
sentencing
18 | 815 LORENZO, GARRUDO & ALVAREZ: TRANSCRIPT of GUILTY PLEAS
before FAM on 12/7/94
23 |816 LORENZO: ORDER (FAM 1/20/95) GRANTING 1/18/95 dft mot for
order returning dft for sentencing (EOD 1/27/95 CCA
23 |817 FALCON, A., MAGLUTA, BLANCO, G. FALCON: OMNIBUS ORDER
(FAM 1/17/95) GRANTING A. Falcon's motion to RECON
sider length of continuance DE 813; CONTINUING
JY TRL TO 7/5/95; cont of justice excludable delay
from 1/17/95 to 7/5/95; PTRL CNF SET 3:00 5/16/95
(EOD 1/27/95 CCAP)
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UNIT STATES DISTRICT COURT
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AO 256A
(— DATE PROCEEDINGS (continued) 7
1995 (Document No.) W. C06 e Uf fa)
Jan 26 1818 FALCON, MAGLUTA: STATUS cnf hrg held on 1/17/95 before
FAM;set GARCIA hrg for 3:00 5/16/95 re Mr. Black
27 |819 FALCON, MAGLUTA: TRANSCRIPT of 1/17/95 STATUS CONFERENCE
before FAM
FEB 2 820 MAGLUTTA & LORENZO: MANDATE(USCA 1/25/95) APPELLANT's M/to d
as to Lorenzo is GRANTED;Appellant's motion to vacate thq Di
Court ‘s Judgement to LORENZO only is DENIED WITHOUT PREJUDI
(Copy to Judge) (USCA#93-5069)
*kJan 31 821 FALCON AND MAGLUTA: GOVT NOTICE and memo for intro of
evidence of acts in furtherence of the conspiracy +or404 |(b)
Feb 6 822 ALVAREZ: OBJECTION to PSI

8 823 GARRUDO: OBJECTION to PSI

8 824 GARRUDO: OBJECTION to PSI

10 {825 FALCON, MAGLUTA, LORENZO, GARRUDO, ALVAREZ: SEALED doc

10 826 LORENZO: DFT OBJECTIONS to PSI

13 827 ALAVREZ: DFT NOTICE of filing LETTER to Ct re sentencing

13. |828 GARRUDO: DFT MOTION to cont sentencing

15 829 LORENZO: DFT SENTENCING SUBMISSION re letters for consid

15 830 LORENZO: GOVT MOTION and brief for issuance of preliminary

order of FORFEITURE

16 831 GARRUDO: DFT MOTION IN OPPOSITION to govt mot for issuance

order of FORFEITURE

16 |832 FALCON, A., MAGLUTA: ORDER (FAM 2/13/95) MARSHAL to bring

dfts to SDFL by 4/17/95, brought to Ct on 2:00 5/16/95
for stat enf and 10:00 7/5/95 for tril (EOD 2/17/95 CCAP)1

16 833 LORENZO,O., GARRUDO,A & GOVT'S resp to objections to

ALVAREZ, V: PSI and memo of law in support.
17 834 FALCON, A. & GOVT'S submission of expert witness
MAGLUTA, 8S: materials.

17 835 GARRUDO,A: GOVT Motion & brief for iss of preliminary
order of forfeiture.

17 836 GARRUDO,A: MINUTES of sentencing held 2/17/95 CR Schwartd

17 837 GARRUDO,A: J&C (FAM 2/12/95) Impr 168 mos & 5 years

supervised release as to ct 3 with credit
for time served and to run concurrent with
sent imposed in case no. 91-413-CR-WDF
remaining counts dism. Assessed $50.00
(EOD 2/23/95-CCAP_M)

17 838 ALVAREZ, V: MINUES of sentencing held 2/17/95 CR Schwartz

17 839 ALVAREZ,V: J&C CFAM 2/17/95) Impr 168 mos & 5years
supervised release as to ct 3 with credit for
time served. remaining cts dism. Assessed $50.90
(EOD 2/23/95-CCAP-M)

17 840 LORENZO,0: MINUTES of sentencing held 2/17/95 CR Schwartz

17 841 LORENZO,0: J&C (FAM 2/17/95) Impr 14 yrs & 5 yrs supervisdd
release as to ct2 with credit for time served.
any remaining cts dism. Assessed $50.00
(EOD 2/23/95~-CCAP-M)

21 842 LORENZO,O: ORDER( FAM 1/12/95) preliminary order of
forfeiture of property re: assorted jewelery
valued at approx $349,080.00. Deft property
forfeited to USA. (EOD 2/23/95-CCAP)

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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

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U.S. vs

FALCON, AUGUSTO GUILLERMO, et al

91-6060-CR-FAM

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PROCEEDINGS (continued)

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843 GARRUDO,A: ORDER(FAM 2/17/95) preliminary order of
forfeiture of real property. Deft property is
forfeited to USA. (EOD 2/23/95-CCAP)

844 ALVAREZ,V: NOTICE of exhibit location.

845 LORENZO, ALVAREZ, GARRUDO: ORDER (FAM 2/21/95) DECLINING

(MOOTING) 2/17/95 ore tenus dft mot for designation
to specific institution (EOD 3/1/95 CCAP)

846 GARRUDO: ORDER (FAM 2/21/95) DENYING dft 2/16/95 mot in
opposition to Govt mot for issuance of preliminary
order of forfeiture (EOD 3/1/95 CCAP)

847 GARRUDO, ILEANA (WIFE): MOTION TO INTERVENE and to vacate
preliminary order of forfeiture (EOD 3/1/95 )

848 GARRUDO: DFT MOTION to vacate preliminary order of for-

849 FALCON, MAGLUTA: DFT MOTION for greater particularizatio
of Govt notice of 404b evidence and demand with memo

850 GARRUDO: (FAM 2/28/95 ) DENYING 2/24/95 MOTION TO VACATE
PRELIMINARY ORDER OF FORFEITURE (EOD 3/1/95 CCAP)°

851 GARRUDO: GOVT MOTION for exttime to resp to motion to
intervene and vacate

852 FALCON, A., MAGLUTA: DFT MEMO re whether the ct may
require ptrl disclosure of impeachment evidence that

feiture

upon denial by witness be used as substantive evidencd

853 A. FALCON, MAGLUTA: ORDER (FAM 3/14/95) GRANTING dft's

2/24/95 mot for greater particularization of Govt

nte of 404b evidence and demand for alibi (EOD

3/15/95 CCAP)

854 LORENZO: JUDGMENT returned executed on 3/7/95 to FCI
Loretto, PA

855 GARRUDO: ORDER (FAM 3/15/95) GRANTING govt 3/7/95 mot
to 4/28/95 to exttime to resp to mot to intervene
and vacate (EOD 3/21/95 CCAP)

856 DEFENDANTS': SUBMISSION OF EXPERT WITNESS INFO

857 FALCON, A.,MAGLUTA: DFT NOTICE of supp authority in sup

of memo re impeachment evidence
858 A. FALCON & MAGLUTA: GOVT SUBMISSION to 3/14/95 order

granting dfts mot for greater particularization of

govt ntc of 404b evi and dmd for alibi
859 ALVAREZ: J & C RETURNED executed on 3/28/95 to FCI
Fort Dix West, NJ
860 A. FALCON & MAGLUTA: DFT REPLY TO govt submission to
3/14/95 order re ntc of alibi demand
861 GARRUDO: GOVT RESPONSE to L[leana Garrudo's mot to intv
and to vac prelim order of forfeiture
FALCON & MAGLUTA: DFT MOTION for cont of trl and
for evidentiary hrg
FALCON & MAGLUTA: DFT MOTION to DISM INDICTMENT and
for evidentiary hrg and memo
FALCON & MAGLUTA: DFT APPENDIX of exhib's to mot to
dism and for evi hrg

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AO 256A
{vate PROCEEDINGS (continu V. EXCLUDABLE DELAY
1995 {Document No.} (continued) Gl-060-G4 (a) (ob) (ce) (d)
May 3 865 GARRUDO: ILEANA GARRUDO'S ANSWER to resp to mot to intv
and to vac prelim order of forfeiture sk
a) 866 MAGLUTA & A. FALCON: DFT MOTION to take foreign deposition sk
10 867 A. FALCON & MAGLUTA: DFT NOTICE of compliance of filing
. certificate w Rule 88.9 sk
10 1868 A FALCON & MAGLUTA: DFT MOTION to comp govt to prdce doc's
req'd in 4/13/95 letter and memo sk
11 869 MAGLUTA: EMERGENCY PETITION for writ of habeas corpus
ad testficandum re Henry Masters sk
12 870 L.A. COUNTY RECORDS CUSTODIAN, RUDY LOVIO: MOTION to quash
subpoena duces tecum w memo ATTY INFO FOR MOVANT:
CHRIS MANCINI 127 NE 5th St., Miami, FL 33132
305-372-0609 sk
12 871 A. FALCON & MAGLUTA: GOVT RESPONSE in opp to mot to take
foreign depo. sk
12 872 A. FALCON & MAGLUTA: GOVT MOTION for hrg re defense cnsl's
conflict of interest and memo sk
5 873 A. FALCON & MAGLUTA: GOVT MOTION to quash subpoena's/resp
in opp to dft mot to dism indictment and for evidentiarly htg sk
15 874 A. FALCON & MAGLUTA: DFTS' MOTION in lim to preclude the
admission of dft Falcon's purchase of a handgun and me sk
16 875 A. FALCON & MAGLUTA: DFTS' MOTION for more particularized
notice of evidence that the govt seeks to offer pursuan
to residual heresay exceptions, and memo sk
AMAR 23%** 1876 W. FALCON et al.,: DFT SUPPLEMENTAL expert witness info sk
May 17. |877 A. FALCON & MAGLUTA; DFT NOTICE of pending motions
17 878 A. FALCON & MAGLUTA: DFT NOTICE RE selection of psychiatrists sk
17 879 A. FALCON & MAGLUTA: GOV SUBMISSION of experts to conduct
psychiatric exams sk
18 |880 MAGLUTA: DFT COUNSEL NOTICE of trial schedule sk
18 |881 ILEANA GARRUDO: CLAIMANT DEMAND for hrg to adjudicate
validity of claimant wife's interest in the property sk
18 882 A. FALCON: DFT NOTICE re selection to psychiatrist sk
#k*]6  |--- A. FALCON, MAGLUTA: STATUS CONFERENCE and ptrl cnf held sk
19 883 A. FALCON, MAGLUTA: MINUTE ENTRY OF 5/16/95 stat/ptrl cnf;
DENYING dft MOTION to DISMISS INDICTMENT and for EVID
HRG; MOTION to QUASH GRANTED; dft mot for COmpetency
EXAM GRANTed for Falcon & Magluta; case cont to
6/8/95 for competency hrg; wit list by 5/31/95; before FAM sk
19 |884 AFFIDAVIT of Augusto Ibanez sk
19 885 GOVT NOTICE of PENDING MATTERS (MOTIONS) sk
19 |886 A. FALCON, MAGLUTA: ORDER (FAM 5/19/95) FOR EXAM/EVALUATION
5/16/95 ore tenus MOTion granted; evid competency hrg
set for 10:00 6/8/95; (EOD 5/25/95 CCAP) sk
19 1887 A. FALCON, MAGLUTA: (ORDER FAM 5/19/95) GRANTING govt mot
to quash subpoenas filed 5/15/95; govt mot for hrg re
atty Black' conflict of int w wit Ibanez is GRANTED;
MOTION by LA County Sheriff's record Custodian Rudy
Lovio to quash 5/12/95 subpona is GRANTED; DFT MOTION
TO DISM INDICTMENT is DENIED; dft MOTION FOR CONT of
TRL is deferred until after competency hrg; DFT MOT
FOR EVIDENTIARY HRG on conditions of confinement filed
on 5/1/95 is DENIED (order cont'd on next page...) sk
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(per Section j1) End Date

 

 

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Case 0:91-cr-O6060-FAM Document 1379 Entered on FLSD Docket 08/12/1998 Page 48 of 66

UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

U.S. vs
) A. FALCON & MAGLUTA

) 91-6060-—CR-FAM

 

 

 

 

 

 

 

AO 256A ® Ys | Docket No. |Def.
DATE PROCEEDINGS (continued) V. EXCLUDABLE DELAY
| —s«s1995, +-({Document No.) _ - lal {b) te) (d)
May 19 887 (continuation of order) DFT 5/16/95 ORAL MOTION for
determination to mental competency of both dft is
GRANTED; wit list due 5/31/95; MAGLUTA's MOTION ‘to
DISM or CONT TRL date filed 6/8/94 is DENIED AS MOOT;
EMERGENCY PETITION for writ of habeas corpus filed
5/11/95 is DENIED; (EOD 5/25/95 CCAP) sk
/ 22 888 A. FALCON, MAGLUTA: GOVT MOTION for CLARIFICATION oforder
FOR EXAMINATION/EVALUATION sk
23 889 A. FALCON, MAGLUTA: GOVT RESPONSE to dft mot inlim to
preclude admission of purch of handguns sk
26 890 MAGLUTA: SCHEDULING NOTICE requesting that trial not
commence until 2/96. 1k
31 891 A. FALCON, MAGLUTA: WITNESS LIST for competency hrg sk
31 892 A. FALCON, MAGLUTA: GOVT LIST of witnesses for compentcy hrg sk
31 893 MAGLUTA: GOVT MOTION for consent directive and memo sk
Jun 1 894 A. FALCON, MAGLUTA: ORDER (FAM 6/1/95) GRANTING govt sk
5/22/95 mot for clar of ord for exam/eval (EOD
6/6/95 CCAP) sk
2 895 A. FALCON, MAGLUTA: GOVT RESPONSE to mot to supr
3 pg doc and memo (SEALED DOC per chambers) sk
June 6 896 FALCON,A. & MOTION for relief from conditions of
MAGLUTA,S: confinement & incorp memo of law. dmt
8 897 FALCON, A.& GOVT MOTION for severance of defts. dmt
MAGLUTA, S:
8 898 FALCON & MAGLUTA: SEALED DOCUMENT in vault. vpb
15 |899 A. FALCON, MAGLUTA, et al.,: ORDER (FAM 6/15/95) RE
NOTICE of dmd for ALIBI, dft ntc of intent to offer
a defense of ALIBI by 7/26/95 (EOD 6/23/95 CCAP) sk
15 900 A. FALCON, MAGLUTA: ORDER (FAM 6/15/95) RE INTRODUCTION
of evi of acts in FURTHERANCE of the conspiracy and
404B EVIDENCE (EOD 6/23/95 CCAP) sk
KEK] QQ 3RAKKKAK
Jan 15 901 SEALED DOC: MAGLUTA, FALCON DFT UNOPPOSED MOTION to file
nunc pro tunc oversized pleading (see DE 399 Ord gr) sk
KEK QQGEKKEKKK
Nov 15 902 SEALDOC: FALCON et al.: GOVT RESPONSE in opp to dft mot
for adversarial hrg re searches on JUAN Cayado sk
KEK] QS KKAARKA
Jun 5 903 SEALED DOC— FALCON: 5/31/95 psych rpt of Dr Lloyd Miller sk
5 904 SEALED DOC - MAGLUTA: 5/31/95 psych rpt of Dr Lloyd Millar sk
6 905 SEALED DOC- FALCON: 6/5/95 psych rpt of C. NEWKIRK, M.D. sk
7 906 SEALED DOC- MAGLUTA: 6/6/95 psych rpt of Ed Landis, BOP sk
8 907 SEALED DOC- FALCON: 6/8/95 psych rpt of Ed Landis, BOP far USA sk
8 908 SEALED DOC- MAGLUTA: 6/8/95 psych rpt of Ed Landis, BOP ffor USA sk
23 1909 FALCON & MAGLUTA: ORDER (FAM-6/23/95) that Court will NQ@T
require pre-trial disclosure of impeachment material pfior
to trial (EOD 7/6/95-CCAP). vpb
23 {910 FALCON & MAGLUTA: ORDER (FAM-6/22/95) GRANTING deft's
m/cont. Cause is reset for trial on 10/16/95
(EOD 7/6/95-CCAP). vpb
23 |911 FALCON & MAGLUTA: ORDER (FAM-6/23/95) DENYING AS MOOT
govt's m/sever. (EOD 7/6/95-CCAP). vpb
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UNITED STATES DISTRICT COURT
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AO 256A
PROCEEDIN ‘ yn a V. EXCLUDABLE DELAY
( a (Document No.) £8 [continued) W- CL66 - CE fa) (b) (ch) (d)
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TUN 23 912 FALCON & MAGLUTA: ORDER (FAM-6/22/95) REQUIRING
govt to respond to m/relief from conditions
of confinement by 6/30/95. (EOD 7/6/95-CCAP). vpb
23 913 FALCON & MAGLUTA: NOTICE (FAM-6/23/95) of receipt
of attached leter. (EOD 7/6/95-CCAP). vpb
26 914 FALCON, MAGLUTA: DFT MEMO IN REPLY to govt resp to dft mot
to supr 3-pg doc sk
26 915 MAGLUTA: DFT MEMO IN OPP to govt mot for consent directivd sk
26 916 FALCON, MAGLUTA: DFT MEMO IN REPLY to govt resp to dfts
mot to take foreign depo of Fabio Ochoa sk
27 917 FALCON, MAGLUTA: ORDER (FAM 6/23/95) GRANTING dft MOT
for more particularized ntc by the govt to offer resi-
dual heresay exception evidence filed 5/16/95
(EOD 7/6/95 CCAP) sk
27 918 FALCON, MAGLUTA: ORDER (FAM 6/23/95) GRANTING DFT 12/22/94
mot to comp prod of BRADY, GIGLIO & AGURS docs; govt
to comply by 10/2/95 (EOD 7/6/95 CCAP) sk
27 919 FALCON, MAGLUTA: ORDER (FAM 6/23/95) EXCLUDING expert
testimony on plea bargaining and sentencing
(EOD 7/6/95 CCAP) sk
27 920 FALCON, MAGLUTA: ORDER (FAM 6/23/95) TRIAL SET for
10/16/95; mot filing ddl 7/21/95; oral argument on
mots set for 2:00 8/18/95 (EOD 7/6/95 CCAP) _ sk
27 921 FALCON, MAGLUTA: ORDER (FAM 6/23/95) ON EXPERT TESTIMONY
and Colombian law (EOD 7/6/95 CCAP) sk
29 922 FALCON, MAGLUTA: ORDER (FAM 6/28/95) SEALING 6/2/95
GOVT RESP to dft mot to supr 3-pg doc ME 895)
(EOD 7/6/95 CCAP) sk
29 923 FALCON, MAGLUTA: ORDER (FAM 6/26/95) OF REFERENCE of
11/2/94 SEALED MOTION by dfts; re search of Juan
Cayado's ofc and home; for R&R (and hrg) to STB
(EOD 7/6/95 CCAP) sk
29 | 924 FALCON, MAGLUTA: DFT NOTICE of filing AFF in support of
mot to take foreign depo of OCHOA sk
30 925 FALCON, MAGLUTA: DFT MOTION to REJECT proposed changes to
their conditions of confinement as GROSSLY INADEQUATE,
for an expedited evidentiary hrg, and for other relief
and memo sk
30 926 FALCON, MAGLUTA: GOVT RESPONSE to ORDER on dft mot for
RELIEF for their condition of CONFINEMENT sk
Jul 5 —— MAGLUTA: RETURN of 2nd suppl ROA by USCA as Mandate issd. cs
5 927 FALCON & GOVT'S amended notice of demand for alibi dmt
MUGLATA:
6 928 FALCON & MAGLUTA: GOVT'S Motion for clarification and/or
Motion for reconsideration of Court's order of 6/27/95 dmt
7 929 FALCON & MAGLUTA: UNOPPOSED Motion for competency hrg. dmt .
10 930 FALCON & MAGLUTA: RENEWED M/to dism Indict for viol of
double jeopardy clause & incorp memo. dmt
10 931 FALCON, MAGLUTA, NOTICE of adversarial evid hrg
LORENZO, GARRUDO & sched on 8/1/95 at 10AM
ALVAREZ: (Signed by Stephen T. Brown on 7/10/95) dmt
11 932 FALCON & MAGLUTA: SUPPL MEMO in supp of Motion to reject
proposed changes to conditions of confinementé& Req for emerg
( relief. Interval Start Dare | Ltr. |Totat
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UNITED STATES DISTRICT COURT
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A. FALCON, S. MAGLUTA, ET AL.,

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946 A.

948 V.

949 A.

950 A.

 

(Document No.) --

936 V.M. ALVAREZ: DFT MOTION to DISCHARGE BOND & exonerate

942 GARRUDO: ORDER (FAM 7/20/95) OF REFERENCE TO MAGISTRATE;

947 GARRUDO: ORDER (STB 7/27/95) DENYING ILEANA Garrudo's mot

PROCEEDINGS (continued)

(a)

(b)

V. EXCLUDABLE DELAY
{c)) (d)

 

FALCON, MAGLUTA: AMENDED NOTICE (STB 7/12/95) OF HRG
set hrg on dft mot for advesarial evidentiary hrg

re searches on ofc and home of Cayado for 10:00
8/1/95 (EOD 7/19/95 CCAP)

FALCON, MAGLUTA: DFT MOTION TO COMPEL prod of psyc
exams and other items relied on by govt expert + memo
FLACON, MAGLUTA: DFT RESPONSE to govt amended ntc

of dmd for alibi

sureties
FALCON, MAGLUTA: GOVT MOTION to CONSOLIDATE indictment
w 95-324-CR-NESBITT

FALCON, MAGLUTA, et al.,: ORDER (FAM 7/18/95) DENYING
govt motion for CONSENT DIRECTIVE filed 5/31/95;

(EOD 7/19/95 CCAP)

FALCON, MAGLUTA: DFT NOTICE of withdrawal of REQUEST
for adversarial evidentiary hrg re CAYADO searches
FALCON, MAGLUTA: DFT MEMO in resp to govt mot for
clar of 6/27/95 order

ALVAREZ: GOVT MOTION for REVOCATION and estreature
and for entry of a final jgmt of forfeiture of apr bnd

Ileana Garrudo's mot to intervene and to vac prelim
order of forfeiture; also her 5/18/95 DEMAND for hrg
to adjudicate validity of claimant wife's interest in
the property to STB (EOD 7/25/95 CCAP)

ALVAREZ: ORDER (FAM 7/20/95) GRANTING 7/14/95 dft mot
to discharge $100,000 PSB and $100,000 CSB

(EOD 7/25/95 CCAP)

FALCON, MAGLUTA: ORDER (FAM 7/20/95) DENYING dft mot

to CONSOL indictment w 95CR324NESBITT (EOD 7/25/95 CCAP)

FALCON, MAGLUTA: ORDER (FAM 7/20/95) GRANTING 7/7/95
mot for COMPETENCY HRG; GRANTING Krieger's req to
resched 8/18/95 conpetency/mot hrg; hrg is RESET to
8/25/95 2:00 (EOD 7/25/95 CCAP)

FALCON, MAGLUTA: ORDER (FAM 7/21/95) DENYING request
for adversarial hrg re Cayado Searches and cancelling
8/1/95 hrg before STB (EOD 8/2/95 CCAP)

to intervene and DENYING her mot to VACATE prelim ord
of FORFEITURE (EOD 8/2/95 CCAP)

ALVAREZ: ORDER (FAM 7/27/95) DENYING govt 7/21/95 mot
for revoc and extreature and for fnl jgmt of forfeitur
of apr bnds (EOD 8/2/95 CCAP)

FALCON, GARRUDO: ORDER (FAM 7/27/95) GRANTING dft jt
7/14/95 mot to COMPEL prod of psyc exams admin'd to
dfts and other items relied by govt exprt

(EOD 8/2/95 CCAP)

FALCON, GARRUDO: ORDER (FAM 7/27/95) OF REFERENCE of
dft 6/30/95 mot to reject prop changes of confinement
as grossly inadequate to STB (EOD 8/2/95 CCAP)

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"1995 (Document No.) GS (continued) Yl -b OOO - Ck (a) (b) (chy (a)
Jul 28 951 A. FALCON, GARRUDO: ORDER (FAM 7/27/95) OF REFERENCE of
dft 6/6/95 mot for relief from conds of confinement and
dfts mot to reject prop changes of confinement as
grossly inadequate and req for emergency relief filed
7/11/95 to STB (EOD 8/2/95 CCAP) sk
28 952 A. FALCON, GARRUDO: ORDER (FAM 7/27/95) FOR WRITTEN RESP
to dft 7/10/95 renewed mot to dism the indictmt for
vio of double jeopardy clause by govt by 8/11/95
(EOD 8/2/95 CCAP) sk
28 {953 A. FALCON, GARRUDO: ORDER (FAM 7/27/95)DENYING 5/5/95 mot
to take depo of Fabio Ochoa wo prej to refile
(EOD 8/2/95 CCAP) sk
Aug = 02 954 FALCON, A & MAGLUTA, S: NOTICE of Suppl Auth in supp of
Renewed M/Dism Ind for violation of the double jeopardy
cause. jlw
02 955 FALCON, A & MAGLUTA, S: GOVT's M/Enlgmt of time to file
resp to Renewed M/Dism. jlw
04 956 GARRUDO, A: NOTICE of hrg re: Demand for hrg to adjudicate
validity of Clmt's Wife's interest in property set for
8/31/95 @ 2:00 before Mag Stephen T. Brown jw
*
JUNE 19| 957 MAGLUTA: MANDATE (USCA-6/15/95) REVERSING the order of
the dist. court & REMANDING to dist. court for furthet
proceedings in accordance w/opinion. ROA consisting of
10 vols.& 1 env. ret'd from USCA. (USCA #93-5069)
(Copy to Judge) ps
Aug 7 958 V. ALVAREZ: DFT RESPONSE IN OPPOSITION to gov mo for revoc
and extreature and for final jemt of forfeiture of
appearance bnds which have been exonerated by ct sk
14 | 959 FALCON,A & MAGLUTA: GOVT's M/recon of the court's Order
denying motion to take foreign depositions. lk
*9 960 FALCON,A & MAGLUTA: TRANSCRIPT of motion to sever held gn
6/8/95, pages 1-65 tb
18 961 FALCON, et al.,: ORDER (FAM 8/15/95) GRANTING GOVT 8/2/95
mot to exttime to 8/23/95 to resp to mot to dism indict
(EOD 8/28/95 CCAP) sk
18 962 A. FALCON, MAGLUTA: ORDER (FAM 8/17/95) REQUIRING govt
to resp by 8/18/95 to 8/15/95 dft mot to comp govt to
comply w 7/28/95 order (EOD 8/28/95 CCAP)
KKKANOTE no 8/15/95 dft mot to compel found on ct dkt*Ax**e sk
23 963 A. FALCON, MAGLUTA: GOVT MOTION for iv to file memo in
excess of twenty pgs (ATTACHED) sk
KKKEK 16 964 BARROSO: SEALED DOC BY GOVT /mot to seal UNSEALED BY DE 1159*#**%x%4%%%) 411 |] Sk
kkkK*K 16 |965 BARROSO: SEALED doc by govt /mo to unseal ct rptr notes of]/cp& sen irene ] sk
RKEKEKKK1G 966 MENDEZ: SEALED DOC by govt /mo to seal UNSEALED BY DE 11594***k42xe224%% ) by DEBK
RKKKKK 16 967 MENDEZ: SEALED DOC by govt /mo to unseal ct rptr notes of ¢p & sen hrg)1159] sk
*15 968 FALCON&: NOTICE (STB 8/15/95) of hrg on defts' M/relief
MAGLUTA: from conds of confinement set for 8/29/95
(EOD 9/1/95-CCAP). Bal
*15 |969 FALCON&: MOTION/comp Govt to comply w/court's order of
MAGLUTA: 7/28/95 & for other relief & memo. Bal
*16 970 FALCON&: GOVT'S resp to deft's M/comp &/or M/mod court's
MAGLUTA: order of 7/28/95. sal
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UNITED STATES DISTRICT COURT

CRIMINAL DOCKET

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993 FALCON, MAGLUTA: SEALED GOVT EX PARTE in camera submis-—

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PROCEEDINGS (continued)

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V. EXCLUDABLE DELAY

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FALCON&: ORODER (FAM 8/25/95) GRANTING Govt's M/leave to
MAGLUTA: file memo in excess of 20 pgs (EOD 9/1/95-C
FALCONS: ORDER (FAM 8/25/95) GRANTING Govt's M/clar of
MAGLUTA: order re foreign depo (EOD 9/1/95-CCAP).
FALCON&: GOVT'S written interrogs of prop defense witnesg
MAGLUTA: Fabio Ochoa.

FALCONS: CRIMINAL minutes of o/a on pending mots & evid
MAGLUTA: competency hrg held 8/25/95.

A FALCON, MAGLUTA: ORDER (FAM 8/31/95) GRANTING 7/6/95
govt mot for clar of 6/27/95; GRANTING IN PART dfts
mot to comp docs reqd in 4/13/95 letter, filed on
5/10/95 (EOD 9/6/95 CCAP)

GARRUDO: Govt NOTICE of SETTLEMENT w Ileana Garrudo

A. FALCON, MAGLUTA: DFTS MEMORANDUM IN REPLY to govt resp
in opp to dfts renewed mot to dism for vio of dble
jeopardy clause

MAGLUTA: SEALED GOVT EX PARTE filing of 3 PG DOC taken
from Magluta's cell on 6/30/93

MAGLUTA: SEALED GOVT RESPONSE to dft opposition to
unsealing 3 PG DOC (ACCOUNTING)

FALCON et al.: SEALED GOVT SUPP pldg in resp to m/advers.
evid. hrg re searches

FALCON et al.: SEALED ORDER

BARROSO: SEALED ORDER GRANTING plitf m/unseal ct rep notes
for transcription

BARROSO: SEALING ORDER

MENDEZ: SEALED ORDER GRANTING govt 8/19/95 m/unseal ct
rep. notes

MENDEZ: SEALING ORDER

ESCOBEDO, MENDEZ: SEALED TRANSCRIPT of 11/14/91 guilty
pleas

ESCOBEDO, MENDEZ: SEALED TRANSCRIPT of 2/14/92 sentencing

BARROSO: SEALED TRANSCRIPT of 4/10/92 plea

FALON, MAGLUTA: ARGUMENT pending mots evidentiary
competency hearing held before FAM

FALCON, MAGLUTA: ARGUMENT pending motions evidentiary
competency hrg held before FAM

FALCON, MAGLUTA: TRANSCRIPT of 8/25/95 argument pending
motions evidentiary hrg held before FAM

FALCON, MAGLUTA: TRANSCRIPT of 8/30/95 argument pending
motions evidentiary hrg held before FAM

FALCON, MAGLUTA: ORDER (FAM 9/6/95) on sealed transcripta
re govt 8/30/95 oral mot; portions due 9/22/95;
(EOD 9/12/95 CCAP)

FALCON, MAGLUTA: DFT MOTION for exttime to file video
stmnt of OCHOA to 9/15/95

sion pursuant to 8/31/95 order
(continued on next page)

 

 

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1995 (Document No.) (a) (o} (c}) (d}
Sept 13 994 FALCON, MAGLUTA: GOVT RESPONSE in opp to motion for exttimp
to file videotaped statment of Fabio Ochoa sk

14 995 FALCON, MAGLUTA: ORDER (FAM 9/12/95) DENYING dft's renewed
motion (DE 930) to dismiss indi for violation of dbl
jeopardy clause filed on 7/10/95; DENYING dft req that
trl be stayed pending interlocutory review of this

order (EOD 9/19/95 CCAP) sk
15 996 FALCON, MAGLUTA: DFT MOTION for further exttime to file

videotaped stmt of Fabio Ochoa sk
18 997 FALCON MAGLUTA: ORDER (FAM 9/18/95) STAYING govt duty to

file obj's to taking of foreign depo (EOD 9/19/95 CCAP) sk

_19 | 998 FALCON: INTERLOCUTORY NOTICE OF APPEAL by deft from order
* denying defts' renewed motion to dismiss indict for viglatiion

of dbl jeopardy clause entered on 9/19/95) (Fee Paid,

Receipt #653134) (Copies to USCA, AUSA, USM, USPS, & C41 of Record) ps
19 | 999 MAGLUTA: INTERLOCUTORY NOTICE OF APPEAL by deft from ordé¢r
denying defts' renewed motion to dismiss indict for viglatiion
of dbl jeopardy clause entered on 9/19/95. (Fee Paid,

Receipt #653133) (Copies to USCA, AUSA, USM, USPS, & Cgl of Record) ps
*Aug 21 {1000 FALCON&: SUBMISSION In conformity with 7/28/95 order re

MAGLUTA: foregin depos & in resp to Govt's M/clar of

said order. sal
*21 11001 FALCONS: ORDER (FAM 8/18/95) GRANTING defts' M/comp govt

MAGLUTA: to comply w/court's order of 7/28/95 & ordet
denying Govt's M/mod court's order
(EOD 9/21/95-CCAP). sal

**Sep 19 1002 FALCON, MAGLUTA: DFT MOTION for order directing all writg
of habeas corpus ad testificandum be issued under seal
and permitting the dfts to file petitions for issuance
of such writs after the commencement of trl and memo sk
19 1003 FALCON, MAGLUTA: CERTIFICATE of compliance sk
19 1004 FALCON, MAGLUTA: ORDER (FAM 9/19/95) DENYING govt 9/13/95
motion to seal ex parte incamera submission (EOD

9/21/95 CCAP) sk
22 1005 FALCON, MAGLUTA: GOVT BILL of particulars sk
22 |1006 FALCON, MAGLUTA: GOVT NOTICE of filing 7/28/93 redacted
copies of transcripts of in camera hrgs sk
25 1007 FALCON, MAGLUTA: SEALED GOVT MOTION to seal sk
25 1008 FALCON, MAGLUTA: SEALED GOVT SUPPLEMENTAL ex parte in
camera submission pursuant to 8/31/95 order sk
29 1009 FALCON, MAGLUTA: DFT NOTICE re foreign depo of Ochoa (fifth Bmdmt) sk
Oct 02 1010 FALCON, MAGLUTA: GOVT NOTICE to seek enhanced penalties
re 21 USC 848 sk
2 1011 FALCON, MAGLUTA: DFT MOTION to COMPEL particularized
info re "BAD ACTS" of govt witnesses and memo sk
2 1012 FALCON, MAGLUTA: DFT NOTICE of intent to offer evidence
pursuant to residual hearsay exception sk
3 1013 FALCON, MAGLUTA: DFT MOTION to COMPEL copies of SEALED
EX PARTE written submissions and to unredact transcripts sk
4 1014 A. GARRUDO: GOVT and ILEANA GARRUDO'S CONSENT to forfeiture sk

6 | 1015 FALCON & MAGLUTA: LIMITED REMAND (USCA-10/6/95)

remanding to dist. court for the limited purpose of the
entry of a written finding whether or not appellants’ dbuble
jeopardy claim is frivolous. (USCA _#95-5173) (Copy to Jhidge)

 

 

 

 

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PROCEEDINGS

 

 

FALCON: Appeal Information Sheet re: appeal filed on 9/19/95.
(No transcript required for this appeal) ps

FALCON & MAGLUTA: ORDER (FAM-10/2/95) DENYING as moot defts motions
for enlargm of time to file videotaped statement of Fabio
Ochoa. (EOD-10/13/95- CCAP) ps
FALCON & MAGLUTA: ORDER (FAM-10/6/95) purs to remand the Court finds that
it cannot categorically state that defendants’ position is wholly
devoid of merit re double jeopardy claim. & defts' motion to stay

is clearly a dilatory tactic. (EOD-10/13/95-CCAP) ps

FALCON & MAGLUTA: MINUTES of telephonic notice of pretrial conf. set
for 10/6/95 at 2:30 p.m. . ps

FALCON & MAGLUTA: Notice of filing proposed Summary of Indictment, by

defts. ps
FALCON & MAGLUTA: Defts' renewed motion for cont. of trial & incorp.

memo. of law. ps
FALCON & MAGLUTA: Desgn of ROA by defts. ps
FALCON & MAGLUTA: SEALED TRANSCRIPT on in camera proc held on 7/28/93(a.m.) ps
FALCON & MAGLUTA: SEALED TRANSCRIPT of in camera proc on 7/28/93 (p.m.) ps
BARROSO: SEALED TRANSCRIPT of 4/10/92 guilty plea ps
BARROSO: SEALED TRANSCRIPT of 6/26/92 sentencing ps
MAGLUTA & FALCON: USCA ack receipt of NOA. (USCA #95-5173) ps

FALCON, MAGLUTA: ORDER (FAM 10/10/95) REQUIRING govt to demonstrate the

continuing necessity of maintaining req'd docs under seal by

10/16/95 (EOD 10/16/95 CCAP) sk
FALCON, MAGLUTA: ORDER (FAM 10/5/95) GRANTING IN PART dft mot to comp got

to particularize info re " BAD ACTS" by 10/13/95 (EOD 10/16/95 CCAP) sk
MAGLUTA: DFT NOTICE OF ATTY APR by Richard Martinez Esq. sk
FALCON, MAGLUTA: DFT MOTION w.memo.to EXCLUDE testimony of HOLTZ re disc vio sk
FALCON, MAGLUTA: DFT NOTICE of filing 3rd supp aff of Stuart Grassian, M.D.

in supp of dft motion for cont of trl sk
FALCON, MAGLUTA: ORDER (FAM 10/11/95) DENYING DFT RENEWED mot for cont of trl

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FALCON, MAGLUTA: ORDER (FAM 10/11/95) ON ADMISSABILITY of aff of OCHOA re

gen'l exceptions to heresay Rule (EOD 10/16/95 CCAP) sk
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FALCON, MAGLUTA: DFT OBJECTION to govt ntc of intent to seek enhanced penalties sk
FALCON, MAGLUTA: DFT REPLY to resp to mot to exclude testimony of HOLTZ sk
FALCON, MAGLUTA: GOVT MEMO re authentication and admissability of docs seized

from the dfts and co-conspirators sk
FALCON, MAGLUTA: GOVT MOTION to seal sk
FALCON, MAGLUTA: GOVT SEALED ex parte in camera SUBMISSION re 9/30/95 order

(parts 1 and 2) sk

FALCON, MAGLUTA: GOVT SEALED exparte in camera response to 10/10/95 order sk

FALCON, MAGLUTA: GOVT RESPONSE in opp to mot to excl testimony of Holtz sk

FALCON, MAGLUTA: GOVT SUPPLEMENTAL RESPONSE to mot in lim re adm of firearm
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19 1045) FALCON, MAGLUTA: DFT MEMO RE admissability of docs seized re Acosta's briefcase
20 1046| FALCON, MAGLUTA: DFT MOTION and mem to comp particularized Brady /Giglio info

 

 

I.D.'d in govt 10/2/95 letter sk
+ 23 1047] FALCON, MAGLUTA: GOVT RESPONSE to dft memo re admissability of doc's seized

from briefcase sk

&k*E16* -- JURY SELECTION BEGINS — DAY 1 JURY TRIAL (FOR A. FALCON & MAGLUTA) sk
17 -—- JURY SELECTION RESUMES - "2 "™ " sk

1 8 —_ " we "W i] 3 Li) w sk

l 9 —_ 7 an " WwW 4 " wu sk

23 | — OPENING STATEMENTS "o5 " " Gov cs begins sk

25 1048| FALCON, MAGLUTA: MINUTE ENTRY OF 10/16/95 jy trl befor FAM sk

25 1049] FALCON, MAGLUTA: " " "10/17/95 " " " " sk

25 1050} FALOCN, MAGLUTA: " " "10/18/95 " " " " sk

25 1051; FALCON, MAGLUTA: " " "10/19/95 " " " " sk

25 1052| FALCON, MAGLUTA: " " " 10/23/95 " " " " sk

25 | 1053] FALCON, MAGLUTA: ORDER (FAM 10/24/95) GRA NTING dft mot to supr 3 pg doc (8/4/'
DENYING AS MOOT dft mot for recon of 5/27/94 order granting gov mot for

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x 23 1054} MAGLUTA: Appeal Information Sheet re: appeal filed on 9/19/95
(ne transcripts are required for appeal) ps
AAKEKOG -- FALCON, MAGLUTA: PRETRIAL CONFERENCE held sk
30 | 1055] FALCON, MAGLUTA: MINUTE ENTRY of 10/6/95 Pre trl conf held before FAM sk
REKKEKIA -~ FALCON, MAGLUTA: DAY 6 JURY TRIAL HELD before FAM, SCHWARTZ ct rptr sk
25 -— t tf wv 7 tf we tt sk
26 —— Ww " w 8 wt uw t tT Wt Ww sk
30 | 1056 | FALCON, MAGLUTA: MINUTE ENTRY of 10/24/95 jy trl before FAM, SCHWARTZ rptr sk
30 1057 " " "10/25/95 jy trl " " "
30 1058 Ww wt t " 1 10/26/95 w tf LAI ! tt wt tt
30 | 1059 " " : GOVT MOTION inlim to prohibit crs-exam of gov wit for BAD ACTS
30 | 1060 " " : DFT MOTION & mem to excl ref's to audiotapes to violent
acts committed by others sk

30 1061 | FALCON, MAGLUTA: ORDER (FAM 10/25/95) STRIKING forfeiture cnt in part; re

real prop at 8370 SW 2nd st. Miami, FL (pgh E pg. 4 of indi) is stricken
from crim forfeiture count (EOD 11/1/95 CCAP) sk
30 1062 | FALCON, MAGLUTA: ORDER (FAM 10/25/95) GRANTING dft mot for ord directing

all writs of habeas corpus as testificandum (and petitions for issuance)

be issued under seal (EOD 11/1/95 CCAP) sk
KKKKEIG 1063 | FALCON, MAGLUTA: SEALED GOVT SUPPLEMENTAL ex parte.in camera submission
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26 1064 | FALCON, MAGLUTA: GOVT MOTION to seal sk
26 1065 wt "W tT Ww Ui "W sk
26 | 1066 " " SEALED GOVT RESUBMISSION of supplemental ex parte in
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30 1067} FALCON, MAGLUTA: GOVT PETITION for writ of habeas ad testficandum for
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30 1068} FALCON, MAGLUTA: WRIT (STB 10/30/95) of habeas corpus ad testifucandum
for Ramon Balboa (EOD 11/7/95 CCAP) sk
30 1069| FALCON, MAGLUTA: DFTS SEALED MOTION inlim to preclude re deaths to jury sk
Nov Ol 1070| FALCON, MAGLUTA: GOVT SEALED MOTION TO seal sk

01 | 1071] FALCON, MAGLUTA: GOVT SEALED SECOND SUPPLEMENTAL in camera ex parte submission
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02 1073 " : MINUTES OF 10/27/95 jy trl before FAM day 9 rptr SCHWARTZ sk
02 1074 te Ui : tt Ww 10/30/95 w w Li} w w 10 wt te sk
02 1075 uw we : wt " 10/31/95 " tt t tf w Ll ft tt sk
02 1076 " " : ORDER (FAM 11/1/95) GRANTING dft motion in lim re deaths
and DENYING govt mot in lim re BAD ACTS of govt witnesses (EOD 11/7/95 CCAP)
03 1077; GARRUDO: GOVT and SUN BANK/MIAMI STIPULATED expedited stlmt agreemnt re
1210 Country Club Prado, Coral Gables, FL 33134 sk
06 1078 FALCON, MAGLUTA: DET SEALED EXPARTE MOTION for writ of habeas AT sk
06 1079 : Ww tt tt W t Ww Te tt sk
06 1080 tt " : w i w t tt th} W 't i sk
06 1081 iy t : ua tt tt ut wt u tt w u sk
06 1082 W i : it " Ww w ! tt Li} wt iy sk
06 | 1083 FALCON, MAGLUTA: MINUTES OF 11/1/95 jy trl before FAM day 12 rptr SCHWARTZ sk
06 1084 : wt " 11/2/95 tt i W ft W 13 uw tf sk
06 1085} FALCON, MAGLUTA: ORDER (FAM 11/3/95) GRAINTING in part dft mot to exclude
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08 | 1086 FALCON, MAGLUTA: MINUTES OF 11/3/95 jy trl before FAM day 14, rptr SCHWARTZ sk
08 1087 : " nt 11/6/95 " W " Nn W 15 "1 "i sk
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08 1090 FALCON, MAGLUTA: GOVT PETITON for writ of habeas corpus re Luis Barroso sk
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08 1092; FALCON, MAGLUTA: GOVT MOTION for prod of docs re subp of Dachs, Esq. sk
08 1093| FALCON, MAGLUTA: ORDER (FAM 11/8/95) DEFERRING 10/13/95 obj to govt ntc
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13 1094; FALCON, MAGLUTA: MINUTES OF 11/8/95 jy trl before FAM day 18, rptr SCHWARTZ sk
13 1095| FALCON, MAGLUTA: MINUTES OF 11/13/95 jy trl before FAM day 19, rptr SCHWARTZ sk
21|--—- FALCON & MAGLUTA: CERTIFICATE OF READINESS (DESIGNATED) OF ROA transm to
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21) -—- FALCON & MAGLUTA: RECORD ON APPEAL (DESIGNATED) consisting of 2 vols.
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KRKKK 1G 1096 | FALCON, MAGLUTA: MINUTES OF 11/14/95 jy trl before FAM day 20, rptr SCHWARTZ sk
17 1097 | FALCON, MAGLUTA: DEFENDANT'S EXPERT WITNESS info sk
20 | 1098: FALCON, MAGLUTA: GOVT MOTION for recon of 11/8/95 order re ntc of intent sk
22 | 1099; FALCON, MAGLUTA: MINUTES of 11/15/95 jy trl before FAM day 21, rptr SCHWARTZ sk
22 1100 ity t w Ww 11/16/95 wv hi W tt 22, Lay sk
22 1101 " W " tt 11/17/95 tt Ww La} we uw 23, tt w sk
22 1102/ FALCON, MAGLUTA: AGENTS MOTION to quash subpoena served upon special agents’ sk
27 1103) FALCON, MAGLUTA: GOVT MOTION for order inlimine sk
27 1104! FALCON, MAGLUTA: GOVT RESPONSE to dft mot in lim to exlude 5th amndmt tx rtns
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27 ; 1105| FALCON, MAGLUTA: DFT EMERGENCY MOTION to seal doc's //#/4/08/&/A4645 sk
KKK 22 1106 | FALCON, MAGLUTA: DFT MOTION and memo in lim to exclude 5th amndmt tx rtns
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27 1107| FALCON, MAGLUTA: DFT MEMO in opp to mot to quash subp on special agents sk
30 1108; FALCON, MAGLUTA: MINUTES OF 11/28/95 jy trl before FAM day 24, rptr SCHWARTZ sk
30 1109] Lit v tt 11/29/95 " tt Ww tl t 25, i te sk

 

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21 | 1113 MAGLUTA,S & SEALED document in vault.
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30) 1114 MAGLUTA,S & SEALDED document in vault.
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30 | 1116 MAGLUTA,S.& SEALED document in vault.
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30 | 1118 MAGLUTA,S & SEALED document in vault.
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30) 1119 MAGLUTA,S & SEALED document in vault.
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30 | 1120 MAGLUTA,S & SEALED document in vault.
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30] 1121 MAGLUTA,S & SEALED document in vault.
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30} 1122 MAGLUTA,S & SEALED document in vault.
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30} 1123 MAGLUTA,S & SEALED document in vault.
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30] 1124 MAGLUTA,S & SEALED document in vault.
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30) 1125 MAGLUTA,S & SEALED document in vault.
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30} 1126 MAGLUTA,S & SEALED document in vault.
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30] 1128 MAGLUTA,S & SEALED document in vault.
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30} 1129 MAGLUTA,S & SEALED document in vault.
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30] 1130 MAGLUTA, S& SEALED document in vault.
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30; 1131 MAGLUTA,S & SEALED document in vault.
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30] 1132 MAGLUTA, S & SEALED document in vault.
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30; 1133 MAGLUTA, S & SEALED document in vault.
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30} 1134 MAGLUTA, S & SEALED document in vault.
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30; 1135 MAGLUTA, S & SEALED document in vault.
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30] 1136 MAGLUTA, S & SEALED document in vault.
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| FALCON, A:
30 | 1138 | MAGLUTA, S & SEALED document in vault. dmt
! | FALCON, A:
30! 1139; MAGLUTA, S & SEALED document in vault. dint
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30! 1140: MAGLUTA, S & SEALED document in vault. dmt
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30° 1141) MAGLUTA, S & SEALED document in vault. dmt
| FALCON, A:
30 ' 1142 MAGLUTA, S & SEALED document in vault. dmt
. _ FALCON, A:
30 | 1143 - MAGLUTA, S & SEALED document in vault. mt
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30. 1144,  FALCON,A & MOTION to reserve the right to file motion for writ of
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6! 1146:  FALCON,A & MINUTES of jury trial day#28 held on 12/5/95. dmt
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6 1147, FALCON, A & MINUTES of jury trial day #29 held on 12/6/95. dmt
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6' 1148; FALCON, A & SEALED document in vault. dmt
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13, 1149; MAGLUTA, et al.,: GOVT MOTION to quash subp on USM sk
13 | 1150 MAGLUTA, et al.,: GOVT MOTION to quash subp on DEA sk
13). 1151! FALCON, MAGLUTA: MINUTES of jytrl day 30 held on 12/7/95 sk
13; 1152 31 ' 12/8/95 sk
18 | 1153 wT W tt Ww Ci W 32 tf id 12/11/95 sk
18 1154 " " " ' " " 33 t " 12/12/95 sk
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18 1159 FALCON, MAGLUTA: ORDER (FAM 12/14/95) UNSEALING DE #'s 964,965,966, and
: 967 (EOD 12/19/95 CCAP) sk
* 42) --- | | FALCON & MAGLUTA: USCA ack receipt of (DESIGNATED) Certificate of
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19 1160! FALCON, MAGLUTA: DFT MEMO re admissability of testimony of atty Araujo sk
20 1161: FALCON, MAGLUTA: GOV SUBMISSION re US v. James sk
20 |! 1162| FALCON, MAGLUTA: ORDER (FAM 12/20/95) DENYING gov 11/27/95 mo inlim; DENYIN G
| dft 11/27/95 emerg mo to seal docs; DENYING 11/22/95 DFT mo inlim to excl
| : 5th amdmt tx rtns + testimony by Snay; DENYING got 11/8/95 mo for prod
| | (EOD 12/21/95 CCAP) sk
20 | 1163) FALCON, MAGLUTA: MINUTES of jytrl day 37 held on 12/18/95 sk
20 | 1164) " " " “ 38 " "12/19/95 sk
20 ; 1165! " tt tt " w tt 39 tw " 12/20/95 sk
22! 1166 " " " " " " 39 " "12/21/95 bah
22 ; 1167), " " " wom om 40." 12/22/95 bah
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5} 1171) FALCON, MAGLUTA: SEALED MOTION TO SEAL by gov sk
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9; 1174) FALCON, MAGLUTA: DFT MEMO on admissability of testimony of Enrique Izaguirre sk
9, 1175| FALCON, MAGLUTA: MINUTES OF JYTRL day 41 held on 01/8/96 sk
11 1176 " " " " tt "492 " " 1/9/96 sk
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12 1178 FALCON, MAGLUTA: GOV IMMUNITY MOTION re Marilyn Bonachea sk
12 | 1179 " : ORDER (FAM 1/12/96) GRANTING GOVT immunity mo re M. Bonachea
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12 1180 FALCON, MAGLUTA: GOVT IMMUNITY MOTION re Jose Fernandez sk
12 | 1181 " : ORDER (FAM 1/12/96) GRANTING GOV immunity mo re J. Fernan-
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16 1182 FALCON, MAGLUTA: DFT OBJECTIONS to gov req'd jy instr sk
16 1183 " : DFT PROPOSED jy instr's sk
17 1184 FALCON, MAGLUTA: GOVT SUBMISSION re US v. James sk
17 1185 " : CIVIL CONTEMPT ORDER (FAM 1/21/96) REMANDING Jose
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17 1186 FALCON, MAGLUTA: MINUTES OF JYTRL day 44 held on 1/11/96, ct rptr SCHWARTZ sk
17 1187 3 " " "45 " "1/12/96 sk
17 i 1188 vw " : tt i] " w 46 We t 1/16/96 sk
17 1189} SALVADOR MAGLUTA:DFT SEALED EX PARTE MOTION for writ of habeas corpus A.T. sk
17 1190; FALCON, MAGLUTA: GOV MOTION for admission of co-conspirator's statements
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19 1191] FALCON, MAGLUTA: ORDER (FAM 1/17/96) RELEASING witness Jose Fernandez from
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19 | 1192 FALCON, MAGLUTA: MINUTES of jytrl day 47 held on 1/17/96, ct rptr SCHWARTZ = sk
19 1193 : " " " 48 =" " 1/18/96 sk
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25 1197| FALCON, MAGLUTA: DFT MEMO re scope of reciprocal discovery sk
30 1198 |FALCON, MAGLUTA: ORDER (FAM 1/29/96) Magluta's sealed 1/17/96 mo for writ of
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01 1200 |FALCON, MAGLUTA: DFTS MOTION for JGMT of ACQUITTAL and memo (ali cnts) sk
02 1201 |FALCON, MAGLUTA: DFT SUPPLEMENTAL MEMO in supp of mot for ACQUITTAL
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02 1202 |FALCON, MAGLUTA: DFT MOTION to recon excluson of dft witness RODGERS sk
02 1203 )FALCON, MAGLUTA: DFIS MOTION to comp immed compliance w Brady order + memo sk
02 1204 |FALCON, MAGLUTA: DFTS RESPONSE to gov mo to quash subp for testimo of BLAIR sk
02 1205 [MAGLUTA: BUREAU OF PRISONS MOTION to quash dft subp's sk
02 1206 MAGLUTA et al.,: DEA MOTION to quash subp on DEA custodian of records sk
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02 |1208 MINUTES of 1/30/96 jytrl day 55 held before FAM rptr ScHwartz sk
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02 |1209 MINUTES of 2/1/96 " "57 held before FAM sk
06 |1210 FALCON, MAGLUTA: GOV RESPONSE to mot for jgmt of acq sk
06 {1211 FALCON, MAGLUTA: GOV SUPPLEMENTAL REQUESTED JY INSTR's sk
07 {1212 MINUTES of 2/2/96 jytrl day 58 held before FAM rptr SCHWARTL sk
07 1213 MINUTES Ui 2/5/96 Ww thi 59 uw " we iy sk
07 |1214 MINUTES " 2/6/96 “ " 60 "  ™ "oo" " sk
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07 |1216 FALCON, MAGLUTA: DFT SUPPLEMENTAL prop jy instr sk
08 {1217 FALCON, MAGLUTA: DFT MODIFIED prop jy instr sk
08 |1218 FALCON, MAGLUTA: GOV SUPPLEMENTAL req'd jy instr sk
09 |1219 FALCON, MAGLUTA: ORDER (FAM 2/7/96); dft 2/2/96 mo to
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12 ;1220 FALCON, MAGLUTA: GOV MEMO re proper scope of gov
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13 1223 ut tt 2/9/96 uw Lil 63 ii} we ly t tt sk
13 1224 " "W 2/12/96 t " 64 1" "t tt " '" sk
13 |1225 FALCON, MAGLUTA: JUDGMENT OF ACQUITTAL; granting in part
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(EOD 2/14/96 CCAP) sk
13 }1226 FALCON, MAGLUTA: JURY NOTES sk
13 |1227 FALCON, MAGLUTA: ORDER (FAM 2/13/96) FOR SEQUESTRATION
(EOD 2/14/96 CCAP) sk
14 {1228 FALCON, MAGLUTA: REDACTED INDICTMENT (from 4/10/91
indictment) sent to jury on 2/14/96 sk
16 {1229 MINUTES of 2/13/96 jytrl day 65 held before FAM rptr SCHWARITZ sk
16 1230 W ! 2/ 14/96 uw we 66 w iy wt w ft sk
16 1231 w 2/15/96 w Ww 67 w wv e wt tt sk
16 1232 " Ww 2/16/96 Ww W 68 Ww wW w Ww 1 sk
16 {1233 FALCON, MAGLUTA: COURT's INTRUCTIONS to the jy sk
16 |1234 FALCON, MAGLUTA: JURY NOTES sk
16 [1235 " " : " " sk
16 11236 " " : " sk
16 1237 wt tt : " " sk
16 | 1238 " " : " " sk
16 | 1239 " " : " " sk
16 {1240 " " : OO" " sk
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UNITED STATES DIStMe? cout Document 1379 Entered on FLSD Docket 08/12/1998 Page 61 of 66
CRIMINAL DOCKET

FALCON, MAGLUTA

 

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AO 256A
( DATE PROCEEDINGS (continued) V. EXCLUDABLE DELAY
1996 (Document No.) {a} (o) (e} 4 (d)
Feb 16 {1241 FALCON, MAGLUTA: JURY NOTES sk
16 }1242 " " ; " sk
16 1243 tr iy : tw tf sk
16 )1244 +=" " 2 " " sk
21 41245 =" " 7 ON " sk
21 11246 FALCON, MAGLUTA: ORDER (FAM 2/14/96) on suppl proposed
jury intructions (EOD 2/22/96 CCAP) sk
21 11247 FALCON, AUGUSTO GUILLERMO: JURY VERDICT rendered 2/16/96
finding the dft NOT GUILTY AS TO COUNTS: I,I1I,III,VI,
VIII, IX, X, XI, XII, XIII, XV, XVI, XVII,XVIII, XX,
XXL, amd XXIII (REDACTED) sk
21 |1248 MAGLUTA, SALVADOR: JURY VERDICT rendered 2/16/96 finding
the dft NOT GUILTY AS TO COUNTS: I, II, III, Vi, VIII,
IX, X, XI, XII, XTII, XV, XVI, XVII, XVIII, XX, XXI,
and XXIII (REDACTED) sk
21 11249 SALVADOR MAGLUTA and AUGUSTO GUILLERMO FALCON: JUDGMENT
OF ACQUITTAL (FAM 2/20/96) on ea of CNTS 1, 2, 3, 6, 8, be,
9, 10, 11, 12, 13, 15, 16, 17, 18, 20, 21, 23; dfts are | 7) °°
DISCHARGED to go hence without day as to the above poe of
couunts; any pending motions not previously ruled upon
are denied as moot (EOD 2/22/96 CCAP) /M sk
21 {1250 TERRY DOMINICK BLANCO, GUSTAVO FALCON: ORDER OF TRANSFER
TO CLERK (FAM 2/20/96) cause transferred to Clk's
suspended file until either dft is apprehende and
brought before the Ct in this district (EOD 2/22/96 CCAP sk
21 |1251 JURY LIST sk
21 |1252 FALCON, MAGLUTA: RELEASE of govt exhibits from 8/25/95
+ 8/30/95 competency hrg to AUSA Michael P. Sullivan
w attached exh lst sk
21 |1253 FALCON, MAGLUTA: RELEASE OF dft exhibits from 8/25/95
+ 8/30/95 compentency hrg to Roy Black, Esq., w attached
exh lst sk
21 {1254 FALCON, MAGLUTA: GOVT WITNESS LIST sk
21 {1255 " " DFTS' " " sk
21 $1256 FALCON, MAGLUTA: RELEASE of all dft exhibits used at jy
trl held 10/16/95-2/16/96 to Roy Black, Esq., w attached
exhibit lst sk
21 {1257 FALCON, MAGLUTA: RELEASE of all gov exhibits used at jy
tri held 10/16/95~-2/16/96 to AUSA Michael P. Sullivan,
w attached exhibit list sk
22 {1258 FALCON, MAGLUTA: DFTS'exh list sk
22 11259 MAGLUTA: DFT NOTICE of surr of passport by wife sk
22 $1260 MAGLUTA: DFT NOTICE of 9:00 2/23/96 hrg on mot to vac
stay of bnd before LRJ sk
27 }1261 FALCON, MAGLUTA: TRANSCRIPT of ini app before PRP on
10/16/91 sk
*kkJan 29 | 1262 FALCON, MAGLUTA: MINUTES of 1/22/96 jytrl day 50, rptr SCHWARTZ sk
2941263 +" " 3 " " 1/23/96 =" "51 " sk
29 ;1264 +" " : " "1/24/96 =" "52 =" sk
29 ,;1265 " " : " "1/25/96 =" "53 =O" sk
29 }1266 " " : " " 1/26/96 =" "54 +" sk
{Mar 06 | 1267 FALCON, MAGLUTA: DFTS' MOTION to vac protective order
and discharge liens and restraints, and for rtn of property sk
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UNITED STATES DISTRICT COURT
CRIMINAL DOCKET

U.S. vS
) FALCON, MAGLUTA, etc.,

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91-6060-CR-FAM

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1268 GOV RESPONSE to mo to vac the protective order and

PROCEEDINGS (continued)

{a)

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(d)

V. EXCLUDABLE DELAY

 

discharge liens and restraints and for rtn of prop

FALCON, MAGLUTA: ORDER (FAM 3/12/96) VACATING 5/16/91

protective order; any real and/or personal prop shall

be relsed to the dfts w the exception of prop which is

not owned by the dfts', forfeited to the US OR otherwise

encumbered; Granting dfts' mo to vac proto, dish liens

and restraints ( EOD 3/19/96 CCAP)

FALCON, MAGLUTA: TRANSCRIPT OF 10/16/91 initial apr
before PRP

FALCON, MAGLUTA: TRANSCRIPT of 10/28/91 Arraignment
before BLG

BARROSO: SEALED GOV MOTION TO SEAL

BARROSO: SEALED GOVT MOTION to rduce sentence

MENDEZ: SEALED GOV MOTION TO SEAL

MENDEZ: SEALED GOV MOTION to reduce sentence

GARRUDO: CLAIMANT ILEANA GARRUDO'S MOTION to comp gov
to list seized prop for sale

MENDEZ: ORDER (FAM 4/3/96) GRANTING 3/29/96 gov mo to
red sent; 2/14/92 J&C sentence of imprisonment is
reduced to four (4) yrs; dft shall receive credit for
time served as applicable by statute; all other terms
and conditions of 2/14/92 J&C shall remain in full
force and effect ( EOD 4/10/96 CCAP)

MENDEZ: MINUTES of 4/3/96 hrg before FAM on gov mo to
red sent

CLAIMANTS MR&F ENT AND RIDGEWOOD DEV. CORP. to mod and

clar order of 3/16/96 wich vacated the 5/16/91 pro-

tective order on rlse of properties

BARROSO: ORDER (FAM 4/9/96) REDUCING SENTENCE imposed
6/26/92; reduced to four and one half yrs (54) months
dft shall receive time served as applicable by sta-
tute; all terms and conditions shall remain in full

force and effect; granting mo for red (EOD 4/17/96 CCAP)

GARRUDO: GOV RESPONSE to claimant Ileana Garrudo's
mo to comp gov to list prop for sale

BARROSO: TRANSCRIPT of 4/8/96 proceedings on gov mo to
reduce sentence held before FAM

MENDEZ: TRANSCRIPT of 4/3/96 proceedings on gov mo to
reduce sentence held before FAM

FALCON, et al.,: GOV MOTION for exttime to resp to MR&F
Enterprises and RIDGEWOOD"S mo to mod or clar order
vac protective order

FALCON, et al.,: RESPONSE of Citibank to mo of claimant
MR&F and Ridgewood to mod or clar order vac 5/16/91

protective order
FALCON ,MAGLUTA, ET AL: CLAIMANTS MR&F AND RIDGEWOOD

reply to Citibank's resp to mo to mod or clar the
order vac its protective order of 5/16/91

FALCON, ET AL: ORDER (FAM 4/16/96) GRANTING 4/15/96 mo
to exttime to resp to mo to mod or clar ord vac'g
protective order TO 4/29/96 for GOV (EOD 4/19/96 CCAP)

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CRIMINAL DOCKET USA v. FALCON, et al.,
AO 256A
( PATE PROCEEDINGS (continued)
(Document No.)
Apr 12 | 1288 MANDATE (USCA-4/9/96) dismissing appeal as moot
(USCA #95-5173) (Copy to Judge).

19 | 1289 FALCON, et al.,: CLAIMANTS MR&F ENT and RIDGEWOOD SUP-
PLEMENTAL REPLY to Citibank's resp to mo to mod or
clar order vac'g protective order of 5/16/91

19 |} 1290 FALCON, etc.: ORDER (FAM 4/17/96) setting 9:00 5/29/96
hrging on clmants mo to mod or clar ord vac protective
order of 5/16/91, filed 4/8/96 (EOD 4/30/96 CCAP)

22 | 1291 A. GARRUDO: ORDER (FAM 4/18/96) DEN YING Ileana Garrudo'
4/9/96 mo to comp gov to list seized prop, wo prej
(EOD 4/30/96 CCAP)

24 | 1292 FALCON, etc.: CITIBANK"S MOTION for lv to file mem in
further resp to mo of clmants MR&F AND RIDGEWOOD to
mod or clar ord vac protective order of 5/16791 “
(MEMO on FAM dkt clk's desk) -- see DE 1299

25 | 1293 FALCON, etc.,: GOV MOTION to exttime to resp to mo to
mod or clar ord vac prot ord

25 | 1294 AILEEN FALCON'S MOTION to adopt mo of MR&F AND RIDGEWOOD
to mod or clar ord vac prot ord dated 5/16/91

25 | 1295 FALCON, AUGUSTO: as parent and guardian of William and
Jessica Falcon to adopt mot of MR&F and RIDGEWOOD to
mod or clar ord vac prot ord of 5/16/91

29 | 1296 GARRUDO: ILEANA GARRUDO'S ANSWER TO gov resp to motion
to comp gov to list seized prop for sale

May Ol |1297 FALCON, MAGLUTA: ORDER (FAM 4/30/96)GRANTING gov 4/25/96
mo to exttime to 5/13/96 to resp to mo to mod or clar
order vac prot order (EOD 5/8/96 CCAP)

O01 |1298 FALCON, MAGLUTA: ORDER (FAM 4/30/96) GRANTING Citibank's
mo for lv to file further resp to mo of clmnts MR&F
and ENTERPRISE (EOD 5/8/96 CCAP)

O1 |}1299 FALCON, et al: CITIBANK'S FURTHER RESPONSE to mo to mod
or clr order vac protective order of 5/16/91

31 | 1300 FALCON/MAGLUTA: MINUTES of 5/29/96 hrg held before FAM

on claimant MR&F + Ridgewood 4/8/96 mo to mod or clar
order vacating protective order of 5/16/91 RPTR-SCHWARTZ
Jun 05 1301 FALCON/MAGLUTA: MINUTES of 5/29/96 hrg held befor FAM
DEFERRING claimant's MR&F + Ridgewood mo to mod or clar
order vacating protective order of 5/16/91 rptr SCHWARTZ
07 1302 LORENZO: TRANSCRIPT of 10/16/91 initial appearance befor
Mag. Palermo
07 1303 LORENZO: TRANSCRIPT of 10/31/91 arraignment held before
Mag. Garber
10 |1304 FALCON, MAGLUTA: ORDER (FAM 6/7/96) DEFERRING RULING
on Claimants MR&F and Ridgewood mo to mod or clar (4/8/96} fil
3/12/96 order VACATING PROTECTIVE order dated 5/16/91; ant
releasing PROPERTY NO. 9 (EOD 6/19/96 CCAP)
KKK] OOS HARK
Oct 19 | 1305 FALCON/MAGLUTA: SEALED ORDER sealing govt 9/25/95 ex
parte subm.
19 |1306 FALcon, MAGLUTA: SELED ORDER sealing 10/13/95 ex parte 5
30 1307 FALCON, MAGLUTA: SEALED ORDER sealing 10/26/95 resub ex
parte in camera submission
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UNITED STATES

CRIMINAL DOCKET

- DISTRICT COURT

U.S. vs
) FALCON, MAGLUTA

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AO 256A @ \ Yr | Docket No. Def.
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(Document No.)
Oct 30 {1308 FALCON, MAGLUTA: SEALED ORDER sealing 10/27/95 govt
suppl submission sk
Nov 08 1309 FALCON, MAGLUTA: SEALED ORDER sealing 11/1/95 2nd suppl
subm. sk
08 1310 FALCON/MAGLUTA: SEALED ORDER granting 11/6/95 sealed m/writ/h/c
08 1311 te tt m w" tf " " tt sk
08 1312 tt it w wt tt La} " w sk
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08 1314 w Li} w Ww tt uw w W sk
30 1315 FALCON, MAGLUTA: SEALED ORDER sk
Dec 06 1316 FALCON/MAGLUTA: SEALED ORDER GRANTING 11/30/95 m/writ hfc sk
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13 1348 tt tt tt Ww Ww 12/6/95 W we
20 1349 FALCON/MAGLUTA: SEALED ORDER GRANTING 11/30/95 m/writ hdfc in part sk
20 1350 Ww tt iii " DENYING w we "
1996
Jan 25 {1351 FALCON, MAGLUTA: SEALED ORDER GRANTING inpart 11/30/95 |[p/wV/h/c sk
Apr 03 {1352 FALCON, MAGLUTA: SEALED ORDER sealing 3/29/96 mot sk
23 1353 FALCON, MAGLUTA: SEALED ORDER SEALING 3/29/96 motion sk
Jun 25 1354 FALCON, MAGLUTA: SEALED CT EXHIBITS 1,2,3, from trl
(11/28/95) (exh alt located) vault clerk Miami sk
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CRIMINAL DOCKET

USA V. FALCON, MAGLUTA

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AO 256A
f[— pate PROCEEDINGS (continued) V. EXCLUDABLE DELAY
1996 fa) (b) (chy (d)
(Document No.)
Sep 20 1355  GARRUDO: GOVT'S PROOF of publication of notice of
forfeiture. PS
Oct 28 1356 GARRUDO: MOTION for mod of term of impr purs to 18:35B2. bg
Nov 1 $1357 GARRUDO,A: ORDER (FAM 10/31/96) DENYING Motion for
modification/reduction of sentence
(EOD 11/14/96-CCAP) dmt
NOV 21 41358 GARRUDO, A: GOVT'S mot for final order of forfeiture. cb
DEC 13 1359 GARRUDO, A: FINAL ORDER (FAM~-12/12/96) RATIFIES & AFFIRMS
U.S has negotiated & entered into stipulated exppditled
settlement agreements with Sun Bank/Miami, N.A. f&
Cheri B. Conners, executrix & sole heir to the epBtate of
Margaret M. Barron, lienholders of the deft propprty,
which the ct. RATIFIES & AFFIRMS the U.S has stipulated
to the claim of lien by Metropolitan Dade County} (MIC)
for unpaid real property taxes, which as of yack
amounted to $45,334, which the ct. (EOD-12/18/96 cb
Dec 17 |1360 GARRUDO, A: NOTICE OF APPEAL by Deft from order Denying Motjon
for modification/reduction of sentence entered on
11/1/96. (FEE Paid, receipt #670693) (Copies to UQCA,
AUSA, USM, USPS, & Csl of record.) ep
1997
Feb . 17 [| -- GARRUDO: USCA ack receipt of NOA. (USCA #97-4035) ep
Mar 7|---  GARRUDO: APPEAL INF SHEET no trascript is requested. ep
Feb ~ *17/"-- GARRUDO: JURISDICTIONAL*QUESTION as to appeal filed
wT poe 12/17/96. (USCA #97-4035). ep
Jul 2311361 GARRUDO: ORDER OF LIMITED REMANDED from USCA dated 6/20/97
to District Court for a determination of excusable
wae welt neglect. (USCA #97-4035) (EOD 7/31/97)Copy to Judge. ep
Sep 22; 1362 POSADA: DEFT!S letter mot to the court praying for
. . specific performance of plea agreement go
Sep... 23,1363 POSADA: ORDER (FAM..9/22/97) that the mot is DENIED for
lack of jurisdiction (EOD 10/1/97) go
OCT 3 | 1364 GARRUDO: ORDER (FAM 10/2/97) granting mot for extension
of time to file appeal (EOD 10/6/97-ccap) Zo
OCT 7 1365 POSADA: PETIT MOT for reconsideration of courts denial
of mot due to lack of jurisdiction go
OCT 9 | 1366 POSADA: ORDER (FAM 10/9/97) that the mot for reconsideratton
of courts denial of mot due to lack of jurisdilction
. is DENIED ‘(EOD -10/14/97-ccap) Zo
10] 1367 LORENZO: MOT for court recommendation to BOP to incarterate
deft as close to family and residence as
possible bo
NOV 17 1368 ALVAREZ: ORDER (FAM 11/12/97) that the mot for modiflication
and reduction of sentence be DENIED for lack
of jurisdiction. There have been no change jin the
sentencing guidelinse that would allow the court
to reduce the sentence. (EOD 11/19/97-ccap) zo
NOV 19 | 1369 GARRUDO: Marshal's deed tranferring lot to Ileana Valdes Bo
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UNITED STATES DISTHICT COURT

CRIMINAL DOCKET

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U.S vs
FALCON,

et al

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91-6060 cr FAM

 

 

 

 

AO 256A @ Yr | Docket No. [Def.
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{a} (b} (c) , (d)
(Document No.)
1997
NOV 12} 1370 ALVAREZ: MODIFICATION and reduction of sentence go
1998
MAR 11 {1371 GARRUDO: ORDER (FAM~3/10/98) DIRECTING deft to show
why notice of appeal was not timely filed
no later than 3/31/98. (EOD 5/12/98-CCAP). vpb
30 {1372 GARRUDO: REPONSE to court order dated 3/10/98. vpb
APR 3 1373 LORENZO: MOTION for recommendation to BOP re: particdpathon
in drug abuse program w/memo. vpb
7 1374 LORENZO: ORDER (FAM-4/6/98) GRANTING m/recommendatioy to
BOP. (EOD 5/12/98-CCAP). vpp
15 1375 GARRUDO: MOTION for recommendation to BOP to allow
. deft a bedside visit with dying father. vpb
22 1376 GARRUDO: ORDER (FAM-4/21/98) DENYING m/recommend
bedside visit. (EOD 5/12/98-CCAP). vpb
: 07 |1377  GARRUDO: ORDER (FAM 4/6/98) FINDING that there is a Tithe
of excusable neglect that caused the late filing
of the NOA (EOD 5/27/98-CCAP). cg
JUNE 18 |1378 ALL DEFTS: US Marshal's Deed. cg
27 --- GARRUDO: CERTIFICATE OF READINESS transmitted to USCA.
(USCA #97-4035) ep
270 |--- GARRUDO: TRANSMITTED ROA to USCA (Miami Office) consisting
of 7 volumes of pleadings, 2 volumes of transcripts,
1 accordion folder containing DE#85, and | gealpd
envelope with PSI. (USCA #97-4035). ep

 

 

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